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                         EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      §
                                              §
                 v.                           §      Case No. 22-cr-15-APM
                                              §
ELMER STEWART RHODES, III,                    §
KELLY MEGGS,                                  §
KENNETH HARRELSON,                            §
JESSICA WATKINS, and                          §
THOMAS CALDWELL                               §
                                              §
                                              §
                       Defendants.            §


  DEFENDANTS AMENDED MEMORANDUM IN SUPUPORT OF JOINT MOTION
         FOR JUDGMENT OF ACQUITTAL PURSUANT TO RULE 29

       Defendants Stewart Rhodes, Kelly Meggs, Kenneth Harrelson, Jessica Watkins, and

Thomas Caldwell, by and through their undersigned counsel, move pursuant to Rule 29 of the

Federal Rules of Criminal Procedure for a Judgment of Acquittal, file this Amended Memorandum

of Points and Authorities in further Support of their Motion, ECF 432, and request oral argument.

                                       I. INTRODUCTION

       “There was no plan.” The government’s entire case was predicated on innuendo and

inference and the evidence at trial bore out this defense theme. Indeed, of the Indictment’s twenty-

eight (28) counts, the jury returned a verdict of not guilty for eleven (11) of them, including not

guilty verdicts for three (3) of the five (5) charges of seditious conspiracy. This remarkable

outcome followed months of investigation by the government in which it has been nothing if not

consistent in its allegations against the Oath Keepers. Just days after the events at the Capitol on

January 6, 2021, the government began filing sealed complaints against members of the Oath




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Keepers, whom the government initially described as, “a large but loosely organized collection of

militia who believe that the federal government has been co-opted by a shadowy conspiracy that

is trying to strip American citizens of their rights.” Aff at 3 ¶12, Complaint, United States v.

Watkins, 21-mj-86 (Jan. 16, 2021) (ECF No. 1-1). Members of the organization, the government

alleged, “have been arrested in connection with a wide range of criminal activities, including

various firearms violations, conspiracy to impede federal workers, possession of explosives, and

threatening public officials.” Id. at 5, Complaint, United States v. Watkins, 21-mj-86 (Jan. 16,

2021) (ECF No. 1-1). And despite the events of January 6, 2021, giving rise to what the

government has described, as early as March 2021, as “one of the largest in American history, both

in terms of the number of defendants prosecuted and the nature and volume of the evidence,” Mot.

Continue at 2, United States v. Caldwell, No. 21-cr-28 (March 12, 2021) (ECF No. 73), the

government had concluded that the Oath Keepers had, inter alia, “conspired together and with

others known and unknown to obstruct the United States Congress’s affirmation of the Electoral

College vote regarding the results of the 2020 U.S. Presidential Election.” Aff. at 2, Complaint,

United States v. Meggs, No. 21-mj-225 (Feb. 11, 2021) (ECF No. 1-1). In the more than eighteen

(18) months that have followed, the government’s investigative focus has been unwavering. The

operative indictment as against the defendants describes the Oath Keepers as, “a large but loosely

organized collection of individuals [--] some of whom are associated with militias [--] [with a]

focus on recruiting current and former military, law enforcement, and first-responder personnel,”

and charges various members with, inter alia, having participated in a scheme – seditious

conspiracy – to illegally oppose the lawful transition of presidential power leading up to and on

January 6, 2021. Superseding Indictment at 3 ¶ 3 (ECF No. 167).

       At trial, however, the government told a different narrative. Not one focused on the



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preconceived belief that the Oath Keepers’ leadership had conspired, beginning on or just after the

Presidential Election on November 3, 2020. Rather, the government explained to the jury: “The

defendants are not charged with entering into an agreement ahead of time, ahead of January 6th,

to storm the United States Capitol. That is not the allegation in this case.” Tr. at 9911:8-11 (Nov.

18, 2022).

         The government is not “free to roam at large—to shift its theory of criminality so as to take

advantage of each passing vicissitude of the trial . . . .” Russell v. United States, 369 U.S. 749, 768

(1962). It is a fundamental precept of federal constitutional law that a “court cannot permit a

defendant to be tried on charges that are not made in the indictment” or allow a prosecutor to

broaden the possible bases for conviction from that which appear in the indictment. Stirone v.

United States, 361 U.S. 212, 215-17 (1960). This is because every accused person has the right to

be informed of the nature and cause of the accusations filed against him. U.S. Const. amend VI;

see also United States v. Combs, 369 F.3d 925, 935 (6th Cir). A variance occurs “when the

charging terms are unchanged, but the evidence at trial proves facts materially different from those

alleged in the indictment.” United States v. Hathaway, 798 F.2d 902, 910 (6th Cir. 1986) (quoting

United States v. Castro, 776 F.2d 1118, 1121 (3d Cir. 1985). If the incongruency between the facts

alleged in the indictment and those adduced at trial prejudices the defendant, the variance is fatal.

United States v. Cross, 766 F.3d 1, 5 (D.C. Cir. 2013).

         If the incongruency between the facts alleged in the indictment and those adduced at trial

prejudices the defendant, the variance is fatal. United States v. Cross, 766 F.3d 1, 5 (D.C. Cir.

2013).

         For example, in Stone, the district court granted the defendant’s Rule 29 motion after it

found that the government attempted to formulate an alternative theory of criminal liability at trial.



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Stone, 2012 WL 1034937, at *7. The indictment in that case alleged

       a specific plan that was to be initiated by [the defendants]. The [defendants’]
       “general plan” was to commit some violent act to provoke a response from law
       enforcement. After the violent act, the [defendants] planned to attack the funeral
       procession, and then retreat to a “rally point.” From there, they would defend
       against the government. This engagement would serve as a catalyst for a more
       widespread uprising against the United States Government.

Id. at *6 (emphasis in original).

       At trial, however, the government backed off its theory that the defendants themselves

planned to initiate the conflict; it posited that the defendants could have planned to simply engage

in the conflict once it was already initiated by others. Id. The court noted that “[t]he inescapable

conclusion of such a tactic is that the Government recognizes that its proofs at trial failed to

establish the plan described in the Indictment.” This attempt to broaden the charges at trial was

deemed impermissible because the defendants relied upon the government’s theory of the case as

set forth in the indictment to formulate their defenses. Id. at *7.

       Here, however, not only did the government broaden the time period of the alleged

conspiracy beyond what was alleged in the Indictment – all of the specific “acts in furtherance of

the conspiracy” alleged in the Indictment, which are arranged in chronological order, have dates

on or before January 20, 2021. ECF 167 at 10-32 – but the penultimate act alleged is dated January

20, and the final one has no date at all. And nothing in the Indictment alleges that the conspiracy

extended into the Biden presidency. Id. at 32. The Indictment in this case only alleged that the

defendants conspired “to oppose the lawful transfer of presidential power by force,” and the

government’s primary argument at trial was that the defendants tried to disrupt the Electoral

College certification on January 6. However, as evidenced by the jury’s verdict, the government

utterly failed to prove that there was an agreement between Rhodes and Meggs to use force to stop




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or delay the certification. The jury did not find that the defendants conspired to “use force to

prevent, hinder, or delay the execution of” the Twelfth Amendment or the Electoral Count Act.

ECF 410 at 1-2.

       Having recognized its failure to establish the plan described in the Indictment, the

Government attempted to formulate an alternative theory of liability—that the defendants actually

planned to “start a rebellion.” In closing, the government argued:

        “[t]hink about that, ladies and gentlemen. Mr. Rhodes told you in his own words
       he was prepared to start a rebellion the day that President Biden took office. We'll
       talk about, at the end of this trial, that that is exactly what is charged in the
       conspiracy. The charges in this case don't end on January 20th. The defendant is
       charged with engaging in a conspiracy to use force against the government from
       the time period of November through January of 2021.”

(11.18. 2022, Morning Session, Tr. 9926, L. 10-18).

       Moreover, rather than relying upon the theory pled in the Indictment that the defendants

conspired to “oppose the lawful transfer of power,” the prosecution characterized Defendant

Rhodes and his co-conspirators as planning to overthrow the United States government by force.

The defendants were not charged under the clause of § 2834 proscribing a conspiracy “to

overthrow, put down, or destroy by force” the United States government because the prosecution

clearly could not prove such an agreement; the most the government could prove concerning the

defendants was that they did not want Joseph Biden to become president. Yet, much of what the

jury apparently relied upon to convict Defendants Rhodes and Meggs of Seditious Conspiracy was

their bombastic language about a “civil war” or events unrelated to the “lawful transfer of

presidential power.” This shift in the government’s theory of the case as set forth in the Indictment

amounts to a broadening of the charges. Because “the defendants relied upon the government’s

theory of the case as set forth in the Indictment to formulate their defenses” and the remainder of




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the evidence is insufficient to sustain a conviction, the defendants were prejudiced and acquittal is

the only remedy. Stone, 2012 WL 1034937, at *7.

       In sum, despite ample opportunity to prove the broad conspiracy alleged in the indictment,

by the conclusion of all the evidence in this case, the government’s theory was merely that, “[f]or

these defendants, the attack on the Capitol was a means to an end [--] [t]hat end being to use any

means necessary, up to and including force, to stop the lawful transfer of power.” Id. at 9911:15-

18. In the pages that follow, it should be clear beyond cavil that no reasonable juror could have

been so persuaded. Indeed, the jury in this case concluded, as to every defendant, that the

government had failed to prove beyond a reasonable doubt seditious conspiracy for the object of

using “force to prevent, hinder, or delay the execution of any law of the United States.”



                               II. PROCEDURAL BACKGROUND

       On January 27, 2021, defendants Thomas Caldwell and Jessica Watkins were first indicted

for Conspiracy to Obstruct an Official Proceeding, Obstruction of an Official Proceeding,

Destruction of Government Property, and Entering a Restricted Building or Grounds. See 21-cr-

28, ECF 4. Less than a month later, the Government filed a superseding indictmen naming several

other defendants, including Kelly Meggs. See 21-cr-28, ECF 27. Defendant Kenneth Harrelson

was added to the second superseding indictment in March of 2021. See 21-cr-28, ECF 77. Through

the remainder of that year, the grand jury handed down multiple superseding indictments, adding

additional defendants and counts. See 21-cr-28, ECF 127, 196, 328, 513.

       Stewart Rhodes was first indicted on January 12, 2022, when the grand jury added a count

of Seditious Conspiracy. See ECF 1. That indictment alleged that the “purpose of the conspiracy

was to oppose the lawful transfer of presidential power by force, by preventing, hindering, or



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delaying by force the execution of the laws governing the transfer of power . . . .” Id. at 8. The

final superseding indictment (“Indictment”), upon which the government proceeded to trial, was

filed June 22, 2022. See ECF 167. The Indictment expanded the scope of the Seditious Conspiracy

charge, alleging that the defendants also conspired to “oppos[e] by force the authority of the

Government of the United States.” Id. at 8. 1

         A trial began on September 26, 2022, culminating in a jury verdict on November 29, 2022.

The jury found Stewart Rhodes and Kelly Meggs guilty of Seditious Conspiracy but acquitted the

other three defendants of the same count. ECF 410 at 1-3. As to the object of the conspiracy, the

jury unanimously concluded it was only “[t]o oppose by force the authority of the Government of

the United States.” Id. at 1-2. The jury did not find Rhodes and Meggs guilty of conspiring “[t]o

use force to prevent, hinder, or delay the execution of any law of the United States.” Id.

         The jury found defendants Kelly Meggs and Jessica Watkins guilty of Count 2, Conspiracy

to Obstruct an Official Proceeding; it acquitted defendants Stewart Rhodes, Kenneth Harrelson,

and Thomas Caldwell on the same count. ECF 410 at 3. Every defendant was found guilty of Count

3, Obstruction of an Official Proceeding and Aiding and Abetting. Id. at 4. With respect to Count

4, the jury found Meggs, Harrelson, and Watkins guilty of Conspiracy to Prevent an Officer from

Discharging any Duties for “prevent[ing] a Member of Congress from discharging a duty as a

Member of Congress.” Id. at 5. The jury found Rhodes and Caldwell not guilty of Count 4. Id. at

4, 6.




1
 Rhodes was also charged with Count 2, Conspiracy to Obstruct an Official Proceeding; Count 3, Obstruction of an
Official Proceeding and Aiding and Abetting; Count 4, Conspiracy to Prevent an Officer from Discharging any
Duties; and Count 7, Tampering with Documents or Proceedings and Aiding and Abetting. Meggs was also charged
with Counts 1, 2, 3, and 4; Count 5, Destruction of Government Property and Aiding and Abetting; and Count 8,
Tampering with Documents or Proceedings and Aiding and Abetting. ECF 167 at 1.



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       The jury found the three defendants charged with Count 5—Meggs, Watkins, and

Harrelson—not guilty of Destruction of Government Property. Id. at 6. Watkins was the only

defendant charged with Count 6, Obstructing Officers During a Civil Disorder, and the jury found

her guilty. Id. Each defendant charged with “Tampering with Documents or Proceedings” –

Rhodes, Meggs, Harrelson, and Caldwell – was found guilty of their respective counts. Id. at 6-7.

                                      III. LEGAL STANDARD

       Rule 29(a) of the Federal Rules of Criminal Procedure provides that “[a]fter the

government closes its evidence or after the close of all of the evidence, the court on the defendant’s

motion must enter a judgment of acquittal of any offense for which the evidence is insufficient to

sustain a conviction.” Fed. R. Crim. P. 29(a). In considering a Rule 29 motion, this Court must

determine “whether upon the evidence, viewed in a ‘light most favorable to the Government giving

full play to the right of the [trier of fact] to determine credibility, weigh the evidence and draw

justifiable inference of fact,’ a reasonable mind might fairly conclude guilt beyond a reasonable

doubt.” United States v. Recognition Equip., Inc., 725 F. Supp. 587, 588 (D.D.C. 1989); see United

States v. Kayode, 254 F.3d 204, 212-13 (D.C. Cir. 2001) (quoting United States v. Harrington, 108

F.3d 1460, 1464 (D.C. Cir. 1997)); United States v. SaFavian, 644 F. Supp. 2d 1, 7-8 (D.D.C.

2009); United States v. Duran, 884 F. Supp. 577, 583 (D.D.C. 1995), aff’d, 96 F.3d 1495 (D.C.

Cir. 1996).

       Still, the Court must “accord[] the government the benefit of all legitimate inferences,” see

United States v. Weiss, 718 F.2d 413, 437 (D.C. Cir. 1983), cert. denied, 465 U.S. 1027 (1984),

and deny the motion if “any rational trier of fact could have found the essential elements of the

crime beyond a reasonable doubt,” see United States v. Arrington, 309 F.3d 40, 48 (D.C. Cir. 2002)

(quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)). Moreover, Rule 29 requires the Court to



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view the evidence that the government deems must be evidence of guilt—but can otherwise be

explained as equally innocent—in a balance. See Curley v. United States, 160 F.2d 229, 233 (“[I]f,

upon the whole of the evidence, a reasonable mind must be in balance as between guilt and

innocence, a verdict of guilt cannot be sustained.”). Thus, to find a legitimate and nonspeculative

inference of guilt, the government must articulate a rational basis in the evidence upon which that

inference can arise. Recognition Equip., 725 F. Supp. at 588.

       This Court must grant Defendants’ motion for judgment of acquittal if it finds that the

evidence—even if viewed in the light most favorable to the government—is such that a reasonable

trier of fact would have a reasonable doubt as to the existence of any of the essential elements of

the crimes. United States v. Durant, 648 F.2d 747, 750 (D.C. Cir. 1981); see also United States v.

Foster, 783 F.2d 1087, 1088 (D.C. Cir. 1986). Finally, this Court “cannot let a case go to the jury

unless there is evidence of some fact which to a reasonable mind fairly excludes the hypothesis of

innocence.” Curley, 160 F.2d at 233.

       Put another way, the Court must grant a motion for judgment of acquittal if “a reasonable

juror must necessarily have had a reasonable doubt as to the defendant[’]s guilt.” See United States

v. Weisz, 718 F.2d 413, 437 (D.C. Cir. 1983) (emphasis in original) (citing United States v.

Singleton, 702 F.2d 1159, 1162-63 (D.C. Cir. 1983)); see also United States v. Reese, 561 F.2d

894, 898 (D.C. Cir. 1977); Curley, 160 F.2d at 232-33 ([I]f there is no evidence upon which a

reasonable might fairly conclude guilt beyond a reasonable doubt, the motion [for judgment of

acquittal] must be granted.”).

                                     IV. LEGAL ARGUMENT

A. Seditious Conspiracy (Count 1) as to Defendants Rhodes and Meggs

       Despite ample opportunity to present evidence in this case, no reasonable mind could fairly



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conclude guilt beyond a reasonable doubt as to the government’s marquee charge in its prosecution

of the events of January 6, 2021: Seditious Conspiracy.

       First, the government utterly failed to prove an agreement actually existed between Rhodes

and Meggs to use force “to stop the lawful transfer of power.” Though the law does not require

that all members of a conspiracy meet directly or discuss their objectives between themselves for

there to be a conspiracy, it does require proof beyond a reasonable doubt that at least two persons

came to an implicit understanding to work together to achieve an unlawful common goal. Here,

there was no evidence of cooperation or a “meeting of the minds” between Rhodes and Meggs—

let alone one to specifically “use force” to stop the transfer of presidential power.

       Second, even if there was sufficient proof of a conspiracy, it did not amount to seditious

conspiracy. Stewart Rhodes and Kelly Meggs were convicted of Seditious Conspiracy for

“opposing by force the authority of the government of the United States”—a charge requiring

proof that the defendants “resist[ed] some positive assertion of authority by the government.”

Baldwin v. Franks, 120 U.S. 678, 693 (1887). Yet, the Indictment failed to allege that any “positive

assertion of authority” was resisted by Meggs and Rhodes; the certification of the Electoral College

vote did not amount to a positive show of federal authority as contemplated by Baldwin.

       Third, the government engaged in an impermissible variance by arguing and presenting

evidence that the objective of the seditious conspiracy was not to oppose the lawful transfer of

presidential power, but to do something more general like “stage a rebellion” or engage in “civil

war.” This post-indictment broadening of the charges prejudiced the defendants because they

relied on the government’s theory of the case as set forth in the Indictment to formulate their

defenses and the remainder of the evidence was insufficient to sustain a conviction.

       Finally, if the Court finds that the seditious conspiracy count is sustained on this



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alternative theory of staging a “rebellion” or “civil war,” the defendants are entitled to acquittal

because the seditious conspiracy statute, as applied, is constitutionally vague and violated their

First Amendment rights to freedom of speech and assembly. Under Brandenburg, speech is

constitutionally protected so long as its purpose or tendency is not to incite imminent lawless

action. The overwhelming bulk of evidence presented against Rhodes consisted of his own

bombastic words—in the form of open letters, public appearances, and messages—indicating a

belief that force should be used or predicting that it would be used. This speech never strayed

over the Brandenburg line, and never amounted to an actual conspiracy to use force. Thus, it

remained protected—and a conviction under § 2384 was unconstitutional as applied to Rhodes

and Meggs.

   1. Elements of the Charge

       The essential elements of Seditious Conspiracy, as applied to this case, are (1) a conspiracy

(2) to oppose by force the authority of the government of the United States. See United States v.

Khan, 461 F.3d 477, 487-88 (4th Cir. 2006), cert. denied 550 U.S. 956; 18 U.S.C. § 2384.

       To prove the existence of a criminal conspiracy, the government must show an agreement

or “meeting of the minds”—that two or more defendants actually “agreed to the same type of

conduct.” See United States v. Treadwell, 760 F.2d 327, 336-37 (D.C. Cir. 1985). As applied to

the defendants themselves, the government must prove (1) that Rhodes and/or Meggs conspired or

agreed with at least one other person with the goal of opposing by force the authority of the

government of the United States and (2) that Rhodes and/or Meggs knowingly became a member

of the conspiracy, with the intent to oppose by force the authority of the government of the United

States. See United States v. Khan, 461 F.3d 477, 487-88 (4th Cir. 2006), cert. denied 550 U.S. 956;

Smith v. United States, 568 U.S. 106, 110.



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       To satisfy the second element, the government must prove beyond a reasonable doubt that

(1) “force” was “brought” (2) “to resist some positive assertion of authority by the government.”

See Baldwin v. Franks, 120 U.S. 678, 693 (1887). As the Supreme Court has explained, a

conviction on this clause requires “an attempt to prevent the actual exercise of authority by the

government.” Id.

   2. The government failed to prove that Rhodes and Meggs formed an agreement to
      forcibly stop the lawful transfer of power.

       The existence of an “agreement” is the first essential element of a statutory criminal

conspiracy. United States v. Treadwell, 760 F.2d 327, 336 (D.C. Cir. 1985). Although an

“agreement” does not require the conspirators to agree on the details of their criminal scheme, the

government is required to show the “essential nature of the plan.” Id. (quoting Blumenthal v.

United States, 332 U.S. 539, 557 (1947). This is because it is “essential to determine what kind of

agreement or understanding existed as to each defendant.” Id. (quoting United States v. Borelli,

336 F.2d 376, 384 (2d. Cir. 1964). Thus, the government must show that the co-conspirators

“agreed to the same type of conduct.” Id. at 337 (emphasis in original). And though the law does

not require that all members of a conspiracy meet directly or discuss their objectives between

themselves for there to be a conspiracy, it does require proof beyond a reasonable doubt that at

least two persons came to an implicit understanding to work together to achieve an unlawful

common goal. Id. at 336-37.

       The issue of guilt or innocence in a conspiracy is always an individualized inquiry.

Kotteakos v. United States, 328 U.S. 750, 772 (1946). The government must prove the intent of

each individual conspirator to enter into the conspiracy, knowing of its objectives, and agreeing to

further its goals. See ECF 396 at 17-19. Thus, two different types of intent are required to convict




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a defendant of conspiracy: “the basic intent to agree, which is necessary to establish the existence

of the conspiracy, and the more traditional intent to effectuate the object of the conspiracy.” United

States v. U.S. Gypsom Co., 438 U.S. 422, 443 n.20 (1978).

       Furthermore, when a conspiracy implicates First Amendment protections such as freedom

of speech and freedom of association, the court must make a “specially meticulous inquiry” into

the government’s evidence so there is not “an unfair imputation of the intent or acts of some

participants to all others.” United States v. Dellinger, 472 F.2d 340, 392 (7th Cir. 1972). Because

the government’s proofs in this case consist overwhelmingly of speech and association, the Court

must take “particular care to analyze the evidence against each defendant to determine whether it

is capable of convincing beyond a reasonable doubt.” United States v. Stone, No. 10–20123, 2012

WL 1034937, at *3 (E.D. Mich. Mar. 27, 2012).

       a. By the government’s own admission, there was no plan to stop the Electoral College
          certification or enter the Capitol.

       Here, even when viewing the evidence in the light most favorable to the government, no

rational juror could have concluded beyond a reasonable doubt that an agreement existed between

Rhodes, Meggs, or others to use force to stop the lawful transfer of power. Principally, no evidence

was put on by the government that the defendants had any definite plan or meeting of the minds

before or on January 6. Each of the civilian witnesses the government called—Mike Adams, Terry

Cummings, Jason Dolan, and Graydon Young—initially testified that there was never any

agreement or plan to go into the Capitol to stop the certification process. For example, Jason Dolan,

testified that his decision to enter the Capitol was spontaneous:

       Q: So what prompted you to go up the stairs?
       A: The crowd surged forward.
       ...
       Q: Was there a plan—before you went up the stairs, was there a plan for you to go



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       up the stairs?
       A. No.
       ...
       Q: Okay. And you said you went in because the crowd went in?
       A: Yes.

       Q: There wasn’t any—isn’t it correct, there wasn’t any plan by Mr. Rhodes or
       Kelly Meggs or anyone else put out in advance saying, we’re going to go into the
       Capitol?
       A: No.

(10.19.22, Morning Session, Tr. 4246-48). In fact, the government itself admitted there was no

plan when it said, “Let me be clear on behalf of the United States of America, we do not allege a

specific plan to storm the United States Capitol. We never have and we are not now. We do not

have to prove a plan.” (11.21.2022, Tr. 10296: 5-8) (emphasis added).

       Having recognized that there was no plan, the government instead suggested that there was

some implicit agreement to do “something.” In closing, the government explained:

       You know that is the plan not just from the circumstantial evidence clearly
       suggesting that it is, but you know that from the words of the co-conspirators, the
       real, live people who participated and pled guilty to this conspiracy and came in
       and testified before you . . . . It was the same texts over and over: “We will do
       something. We will do something. We will do something.” And now here we are
       in front of the Capitol doors, and they opened. And it was: “Let’s do something.”

(11.18.2022, Morning Session, Tr. 9946: 18-22); (11.18.2022, Morning Session, Tr. 9974: 7-10).

With no details, no specifics, and no plan, no rational juror could have found that a knowing

agreement took place between any alleged co-conspirator, let alone Rhodes and Meggs. See

Treadwell, 760 F.2d 327 (“Although the government in order to prove an agreement need not show

that the conspirators agreed on the details of their criminal scheme, it is required to show the

‘essential nature of the plan.’” (emphasis added) (quoting Blumenthal, 332 U.S. at 557)).

       b. Even if there was some agreement between Meggs and Rhodes, the government failed
          to prove that they intended that force would be used.




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       The jury was properly instructed that “[a]n act involves force if it threatens or results in

violence or if it threatens or results in harming or destroying property or harming or killing people.”

ECF 396 at 25. While the government did not have to prove that force was actually used, it did

have to prove that Meggs and Rhodes agreed “that physical force would be used.” Id.

       In the Indictment, the government alleged that the defendants’ agreement to “use force”

was mainly evidenced by the QRFs in Virginia:

       RHODES and certain co-conspirators . . . planned to stop the lawful transfer of
       power by January 20, 2021, which included multiple ways to deploy force. They
       coordinated travel across the country to enter Washington, D.C., equipped
       themselves with a variety of weapons, donned combat and tactical gear, and were
       prepared to answer RHODES’S call to take up arms at RHODES’S direction. Some
       co-conspirators also amassed firearms on the outskirts of Washington, D.C.,
       distributed them among “quick reaction force” (“QRF”) teams, and planned to use
       the firearms in support of their plot to stop the lawful transfer of presidential power.
       . . . The QRF teams were prepared to rapidly transport firearms and other weapons
       into Washington, D.C., in support of operations aimed at using force to stop the
       lawful transfer of presidential power. The QRF teams were coordinated, in part, by
       THOMAS CALDWELL and EDWARD VALLEJO.

One of two main “coordinat[ors]” of the QRF, however, was acquitted of seditious conspiracy—

indicating that the QRFs failed to prove the force element. See ECF 410 at 3 (finding Thomas

Caldwell “Not Guilty” of Seditious Conspiracy). The government also did not produce any

evidence that Rhodes or Meggs had the QRF teams prepared to rapidly transport weapons into

Washington, D.C. Furthermore, it is undisputed that neither Meggs nor Rhodes brought any lethal

weapons to the Capitol or to the District of Columbia at any time, including the entire period from

November 2020 through January 20, 2021. In fact, Jason Dolan testified to the following:

       Q: Did you bring a firearm into the District on the 6th?
       A: No.
       Q: Did anybody you were with bring a firearm to the District on the 6th?
       A: I didn’t see any.
       Q: Did you have any information of any Oath Keeper bringing a firearm into the
       District on the 6th?



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       A: No.
(10.19.22, Tr. 4240: 13-21).

       Having utterly failed to establish that the QRFs were part of a conspiracy to use force, the

government at closing instead argued:

       The evidence has shown for weeks, if not months, prior to January 6th, these
       defendants banded together and agreed to do whatever was necessary, up to and
       including using force and violence, to stop that election result from becoming
       finalized. And then on January 6th, they struck. They saw the riot unfolding at the
       Capitol, they threw their bodies to the cause, and they took it.

(11.18.2022, Morning Session, Tr. 9980-91). Rhodes, Meggs, Watkins, Harrelson, and Caldwell,

however, were not charged with assault or alleged in the trial to have assaulted anyone inside or

outside the Capitol, and the three defendants charged with destruction of property were found not

guilty on that count. ECF 410 at 6. The allegation raised in closing that “they threw their bodies to

the cause” lacked factual foundation and prejudice the defendants without supporting evidence.

       At most, the government’s evidence has shown that Rhodes and Meggs entered into an

agreement to travel to Washington, D.C. on January 5 and 6, and that the defendants separately

prepared for the possibility of the Insurrection Act to be legally invoked by former President

Trump. The government has failed to prove, however, that “the essential nature of” the defendants’

itinerary was to stop the lawful transfer of power by force. See Treadwell, 760 F.2d at 336. Because

there was no mutual understanding between Rhodes and Meggs—let alone one involving force—

the defendants must be acquitted of seditious conspiracy.

   3. Even if there was a conspiracy to use force, it did not fit the definition of “oppos[ing]
      by force the authority of the government” as set forth in Baldwin v. Franks.

       The seditious conspiracy statute criminalizes, inter alia: “[A]ny conspir[acy] to overthrow,

put down, or to destroy by force the Government of the United States, or to levy war against them,

or to oppose by force the authority thereof . . . .” 18 U.S.C. § 2834 (emphasis added). The



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defendants in this case were only convicted under that final clause; the only object of the

conspiracy, according to the jury, was “to oppose by force the authority of the Government of the

United States.” ECF 410 at 1-2. The Supreme Court’s ruling in Baldwin, respectfully, requires the

defendants’ acquittals. The Baldwin Court stated:

       All, therefore, depends on that part of the section which provides a punishment for
       “opposing” by force the authority of the United States . . . . This evidently implies
       force against the government as a government. To constitute an offense under the
       first clause, the authority of the government must be opposed; that is to say, force
       must be brought to resist some positive assertion of authority by the government. A
       mere violation of the law is not enough; there must be an attempt to prevent the
       actual exercise of authority.

Baldwin, 120 U.S. at 693 (emphasis added). In Baldwin, “the Supreme Court made clear that to be

convicted of seditious conspiracy, one must specifically oppose by force the government of the

United States while it is executing its authority.” Stone, 2012 WL 1034937 at *4 (emphasis added).

“[A] conspiracy to do something other than forcibly resist a positive show of authority by the

Federal Government is not enough to sustain a charge of seditious conspiracy.” Id. at *5.

       For example, in Baldwin, the defendant was charged with conspiring with others to

unlawfully arrest, detain, and expel a group of Chinese citizens from a California town where they

legally resided and worked. Baldwin, 120 U.S. at 680-81. Using arms, intimidation, and violence,

the co-conspirators forcibly placed them on a steamboat barge that was leaving the town. Id. at

681. The Supreme Court held that these facts could not amount to a seditious conspiracy because

the defendants exerted its force toward the Chinese citizens, rather than against the government in

its efforts to protect them. Id. at 693. Thus, the charge could not stand because the “conspiracy was

for ‘ill treatment itself,’ and ‘not for hindering or delaying the United States in the execution of

their measures to prevent it.’” Stone, 2012 WL 1034937 (quoting Baldwin, 120 U.S. at 694).

       Therefore, here, the Indictment must allege that the purpose of Rhodes’s conspiracy was



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to “resist,” by force, “some positive assertion” or “actual exercise” of authority by the government.

Baldwin, 120 U.S. at 693. The purpose of the conspiracy, according to the Indictment, was to

“oppose the lawful transfer of presidential power.” ECF 167 at 8. The Indictment lays out in detail

“the procedures and dates governing the transfer of presidential power in the United States,”

including the Twelfth and Twentieth amendments, the Electoral Count Act, and the itinerary for

the Certification of the Electoral College vote on January 6, 2021. Id. at 2. This process is clearly

not a “positive assertion of authority by the government” as contemplated by Baldwin. Instead, it

is a perfunctory, nonassertive, quadrennial process outlined in the Constitution.

       On January 6, 2021, Congress was not exercising “authority” or engaging in a separate and

distinct “positive assertion of authority” as contemplated by Baldwin. Rather, Congress was simply

following its constitutional obligations under the Twelfth Amendment: The Vice President and

Congress were participating in a legislatively-choreographed Electoral College certification

process, opening and counting ballots, making and ruling on objections, and other “mandated

constitutional and statutory acts.” ECF 176 at 15. Additionally, as the Court has acknowledged,

the Twentieth Amendment is “self-executing.” Id. at 20-21. Therefore, there was no “actual

exercise of authority” that Rhodes or Meggs could have opposed even after the certification

process on January 6.

       In short, the Indictment failed to allege—and the evidence at trial failed to prove—“some

positive assertion of authority” made by the United States government that Rhodes and Meggs

specifically conspired to forcibly “resist.” Because the “lawful transfer of presidential power” does

not equate to a “positive assertion of authority” as outlined by the Supreme Court, defendants must

be acquitted of Count 1.




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   4. The seditious conspiracy statute, as applied to Rhodes and Meggs, is constitutionally
      vague and violates the First Amendment.

       The crime of seditious conspiracy is inherently political, and—as a result—its “formula[]

for the repression of expression . . . can claim no talismanic immunity from the First Amendment.”

New York Times Co. v. Sullivan, 376 U.S. 254, 269 (1964). In fact, it was the fear-driven passage

of the Sedition Act of 1798, and the subsequent political persecution that masqueraded as

enforcement, which “first crystallized a national awareness of the central meaning of the First

Amendment.” Id. at 273-74.

       The seditious conspiracy statute as applied in this case is constitutionally vague under the

Fifth Amendment because unimpeached and undisputed evidence at trial showed that defendants

headed to the Capitol because the organization they worked with obtained a permit to protest at

the Capitol on January 6th, 2022 to take place after the rally for the President on the mall. (KM-

Exs. 71, 72 and 73). Based on the application of this case, the statute is constitutionally vague and

violates the First Amendment because any legal planned protest activity against Congress can be

construed as an attempt to “overthrow the government.”

       As Chief Justice Hughes wrote in Stromberg v. California in setting aside a conviction

based on a statute that “[t]he question is thus narrowed to that of the validity of the first clause,

that is, with respect to the display of the flag "as a sign, symbol or emblem of opposition to

organized government,"… "A statute which upon its face, and as authoritatively construed, is so

vague and indefinite as to permit the punishment of the fair use of this opportunity [of free speech]

is repugnant to the guaranty of liberty contained in the Fourteenth Amendment. . . ." 283 U.S.

359, 369 (1931). The Supreme Court made clear that even “when statute is vague that it violates

the Fifth Amendment, the many ambiguities concerning the scope of its coverage render it




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problematic for purposes of the First Amendment.” Reno v. ACLU, 521 U.S. 844, 870-871 (1997).

(“[r]egardless of whether the CDA is so vague that it violates the Fifth Amendment,)

       ‘Vagueness and overbreadth, although related are separate concepts having their
       immediate foundations in the Fifth Amendment due process clause. The First
       Amendment has its own force, however, independently of due process concepts
       such as vagueness and overbreadth. A statute which directly impinges upon rights
       granted in that Amendment may be found constitutionally defective without resort
       to due process formulations.

Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575, 582-584 (D.D.C.), aff'd,

409 U.S. 972, 34 L. Ed. 2d 236, 93 S. Ct. 311 (1972)(the DC Circuit Court of Appeals struck

former 40 USCS § 193g on constitutional grounds and differentiated the right of protestors at

Courthouses, versus those at the Capitol)(citing Cox II, Edwards v. South Carolina, 372 U.S. 229,

235, 83 S. Ct. 680, 683, 9 L. Ed. 2d 697 (1963) invalidating a statute finding that a conviction may

not stand resting on speech that "stirred people to anger, invited public dispute, or brought about a

condition of unrest.” Id. at 238.) The District Court enjoined restrictions on First Amendment

conduct within the United States Capitol on the basis that such conduct is "expressive conduct that

convey[s] a message supporting or opposing a point of view or has the . . . propensity to attract a

crowd of onlookers;"). Bynum v. United States Capitol Police Bd., 93 F. Supp. 2d 50, 54, (D.D.C.

2000), vacated in part (on o’ grounds), 96 F. Supp. 2d 4.

       Courts “must interpret the language Congress chose ‘against the background of a profound

national commitment to the principle that debate on public issues should be uninhibited, robust,

and wide open, and that it may well include vehement, caustic, and sometimes unpleasantly sharp

attacks on government and public officials.’” Watts v. United States, 394 U.S. 705, 707 (1969)

(quoting New York Times, 376 U.S. at 270). Even speech that a “vast majority of its citizens believe

to be . . . fraught with evil” cannot be punished unless it represents a clear and present danger.




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Whitney v. California, 274 U.S. 357, 374 (1927), overruled on other grounds by Brandenburg v.

Ohio, 395 U.S. 444 (1969). A statute, as applied, may only criminalize expression when the speech,

thought, or assembly “is directed to inciting or producing imminent lawless action” in accord with

the charged offense, and is “likely to incite or produce such action.” Brandenburg, 395 U.S. at

447. In other words, an expression is “protected unless both the intent of the speaker and the

tendency of the words [is] to produce or incite an imminent lawless act.” United States v. Freeman,

761 F.2d 549, 552 (9th Cir. 1985) (citing Brandenburg, 395 U.S. at 447-48).

        In Herndon v. Lowry, the Supreme Court reviewed the application of a state “insurrection”

statute similar to the seditious conspiracy provision at issue in the instant case. The Court

emphasized the importance of the construction of statutes which implicate speech and association

in their application:

        [W]here the statute merely prohibits certain acts involving danger of substantive
        evil, without any reference to language itself, and it is sought to apply its provisions
        to language used by the defendant for the purpose of bringing about the prohibited
        results . . . [and] it [is] contended that the statute cannot be applied to the language
        used by the defendant because of its protection by the freedom of speech or press,
        it must necessarily be found [by the court] . . . whether the specific language used
        involved such likelihood of bringing about the substantive evil as to deprive it of
        constitutional protection.

Herndon v. Lowry, 301 U.S. 242, 258 (1937).

        In Herndon, the defendant was charged with an attempt to induce “combined resistance to

the lawful authority of the state with intent to deny, defeat, and to overthrow such authority by

open force, violent means, and unlawful acts.” Herndon, 301 U.S. at 245. The Supreme Court first

emphasized that the documentary evidence did not indicate an intent to incite forcible subversion

of the “lawful authority of the State” of Georgia. Id. at 253. The Court then distinguished the future

threat of violence against the government at some indefinite time from that causing a “reasonable




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apprehension of danger to organized government.” Id. at 258-61. Ultimately, the Court found that

the insurrection statute, as construed and applied at the defendant’s trial, violated his First

Amendment rights to freedom of speech and association because there was no “clear and present

danger of forcible obstruction of a particular state function.” Id. at 261.

       To be sure, that otherwise-protected speech may play a part in the commission of a crime

does not insulate that crime from prosecution. See United States v. O’Brien, 391 U.S. 367, 376

(1968) (“[W]hen speech and nonspeech elements are combined in the same course of conduct, a

sufficient important governmental interest in regulating the nonspeech element can justify

incidental limitations on First Amendment freedoms.”). And, of course, protected speech and mere

words can be sufficient to show an unlawful conspiracy. See Freeman, 761 F.2d at 551.

       Brandenburg’s holding, however, is not limited to facial challenges of statutes that

explicitly proscribe “advocating” for violence or some unlawful action. Rather, courts have

routinely applied Brandenburg when assessing as-applied constitutional challenges to criminal

conspiracies and substantive crimes where the defendant’s conduct amounted to advocacy or mere

rhetoric. E.g. United States v. Fullmer, 584 F.3d 132, 154 (3d. Cir. 2009) (applying Brandenburg

test to charges of conspiracy to commit interstate stalking; conspiracy to use a telecommunications

device to abuse, threaten, and harass; and conspiracy to violate the American Enterprise Protection

Act (AEPA)); United States v. Phipps, 595 F.3d 243, 247 (5th Cir. 2010) (applying Brandenburg

to charge of corrupt impediment of the internal revenue laws). In fact, the Brandenburg test has

invalidated convictions for a host of crimes. E.g., United States v. Lee, 6 F.3d 1297 (8th Cir. 1993)

(conspiracy to “injure, oppress, threaten, or intimidate” in order to violate another’s civil rights);

United States v. Dahlstrom, 713 F.2d 1423 (9th Cir. 1983) (aid or assistance in filing a fraudulent

tax return); United States v. Silverman, 248 F.2d 671 (2d. Cir. 1957) (conspiracy to violate the



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Smith Act); United States v. Salazar, 362 N.W.2d 913 (Mich. App. 1985) (murder solicitation).

       In its pretrial order denying Meggs’ Motion to Dismiss, this Court ruled that the seditious

conspiracy statute “does not impinge on protected First Amendment activities” because it only

“prohibits certain agreements to use force.” ECF 238 at 5. The Court then noted that the First

Amendment does not protect the defendants’ conduct because they were not “indicted purely for

their speech or assembly.” See id. at 6. In fact witnesses all testified that none of the alleged co-

conspirators 2 brought lethal weapons to the Capitol or to the District of Columbia for January 6th

nor any time thereafter. Moreover, there was no evidence that these defendants destroyed

government property. (The jury found all defendants charged with destruction of property not

guilty). The government plead overt acts including the participation on the Zello call, a matter of

speech at a protest, (Jessica Watkins’ who was on the Zello call was found not guilty of Seditious

Conspiracy). Similarly, the government alleged in the Superseding Indictment that “The QRF

teams were coordinated, in part, by Thomas Caldwell and Edward Vallejo.” (See SI at ¶12).

(Thomas Caldwell was found not guilty of Seditious Conspiracy), the government put forth no

evidence that any of the defendants asked for weapons to be brought to DC on January 6th or

thereafter, which supports the lack of evidence that the QRF constituted the “overt act” towards

use of force for seditious conspiracy. Further, no evidence was shown that it was illegal for the


2
  “[M]ere association, standing alone, is inadequate; an individual does not become a member of
a conspiracy merely associating with conspirators known to be involved in crime.” United States
v. Gaskins, 402 U.S. App. D.C. 262, 273 (D.C. Cir., 2012) ("The agreement is the sine qua non of
a conspiracy, and this element is not supplied by mere knowledge of an illegal activity . . . , let
alone by mere association with other conspirators." (internal quotation marks omitted)); United
States v. Diaz, 637 F.3d 592, 602 (5th Cir. 2011) ("If all that was shown was a defendant's . . .
'close association with conspirators,' jurors would not be entitled to infer participation in the
conspiracy." (internal quotation marks omitted)); Nusraty, 867 F.2d at 764 ("[M]ere association
with those implicated in an unlawful undertaking is not enough to prove knowing involvement.")



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defendants to have weapons in Virginia. Mr. Meggs was alleged to have to said, “we need to

make those senators very uncomfortable with all of us being a few hundred feet away.” (S.I. at ¶

34), And as to Rhodes, the evidence at trial was largely confined to advocative speech. See, e.g.,

ECF 167 ¶¶ 18, 19, 23, 25, 30, 31, 40. 3 Rhodes’s public lobbying of former President Trump and

private bombastic rhetoric in conversations with other Oath Keepers certainly did not present a

“clear and present danger” so as to strip his speech from First Amendment protections. And while

his words at times expressed the belief that a civil war was imminent—or even a personal desire

for a civil war and its attendant violence at some undetermined future time—they did not amount

to an incitement to “imminent lawless action.” C.f. Yates v. United States, 354 U.S. 298, 318

(1957), overruled in part on other grounds, Burks v. United States, 437 U.S. 1, 7 (1978). Thus, the

application of the seditious conspiracy statute to these defendants constitutes a violation of the

First Amendment.

B.     Conspiracy to Obstruct an Official Proceeding (Count 2)

       The essential elements of the charge of conspiracy to obstruct an official proceeding

include proof beyond a reasonable doubt that the defendants conspired or agreed with at least one

other person with the goal of committing the crime of obstructing an official proceeding and the

that the defendants joined or entered into that agreement with awareness of its unlawful goal. [ECF

400 at 25]. The essential elements of the charge of obstruction of an official proceeding include

proof beyond a reasonable doubt that the defendant obstructed or impeded an official proceeding;

the defendants intended to obstruct or impede the official proceeding; that the defendants acted



3
 The physical actions alleged as to Rhodes were limited to traveling to D.C., assembling near the
U.S. Capitol on 1/6, and purchasing firearms. It is undisputed that, independent of the
conspiracy, these actions were entirely lawful.



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knowingly; and that the defendants acted corruptly. [ECF 400 at 26]. Here, no reasonable juror

could have found that the government proved sufficient evidence to find that Defendants Meggs

and Watkins committed the offense of conspiracy to obstruct an official proceeding beyond a

reasonable doubt.

         First, the government conceded there was no written evidence of any plan to enter the

Capitol or otherwise interfere with the certification of the electoral college vote such that any

“agreement” to do so was reached [insert inferentially] and not explicitly. Tr. 10,014 and 10,298.

Thus, any proof of Defendant Meggs’s and Watkins’s knowing and/or corrupt intent must

necessarily have also been inferential and/or non-explicit. Yet, no reasonable juror could have

found sufficient evidence of the same. To the contrary, the jury concluded there was not proof

beyond a reasonable doubt that Defendants Meggs and Watkins committed the offence of seditious

conspiracy, “to use force to prevent, hinder, or delay the execution of any law of the United States,”

to include the laws governing the transfer of presidential power such as the certification of the

electoral college vote. Yet, the evidence admitted at trial as proof of Defendant Meggs’s and

Watkins’s intent to interfere with the certification of the electoral college vote was the same as the

evidence of Defendant Meggs’s and Watkins’s intent to commit the crime of seditious conspiracy

with the object of preventing, hindering, or delaying the certification.

         Second, the evidence at trial failed to evince any corrupt intent to interfere with the

certification. Indeed, the evidence at trial was that Congress had recessed at 2:29 p.m. [Tr. 4442-

43].

         Third, even if the government’s theory that Defendants Meggs’s and Watkins’s presence

within the Capitol interfered with the certification insofar as any further proceeding was delayed

by their presence, the evidence at trial lacked any proof of corrupt intent. To prove corrupt intent,



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the government must establish a defendant’s use of unlawful means or an improper purpose, as

well as that defendant’s action with “consciousness of wrongdoing.” What the evidence at trial

established was that Defendants Meggs and Watkins remained in the Capitol for roughly twenty

(20) minutes and ultimately left voluntarily.      Indeed, the evidence at trial established that

Defendant Meggs was depicted ushering individuals from the Capitol before exiting peacefully

himself. And to the extent the government argues that Defendant Watkins’s presence in the Senate

Hallway evidences corrupt intent, the jury already concluded such intent was lacking insofar as it

failed to find beyond a reasonable doubt that Defendant Watkins committed the offense of

seditious conspiracy for the purpose of using force to prevent, hinder, or delay the execution of

any law of the United States, to include the transfer of Presidential power and the certification of

the electoral college vote.

B. Obstruction of an Official Proceeding (Count 3)

   1. Elements of the Charge

           a. Substantive Crime

       The essential elements of the substantive offense of obstruction of an official proceeding

under 18 U.S.C. § 1512(c)(2) require the government to prove beyond a reasonable doubt that the

individual defendant: (1) actually obstructed or impeded an official proceeding, (2) intended to

obstruct or impede the official proceeding, (3) acted knowingly, with the awareness that the

natural and probable effect of his or her conduct would be to obstruct or impede the official

proceeding, and (4) acted corruptly. ECF 396 at 26 (Emphasis added); see also United States v.

Miller, No. 1:21-cr-00119, 2022 WL 1718984, at *2-6 (D.D.C. May 27, 2022).

       If an official proceeding was not pending at the time of the alleged offense, the government

must prove beyond a reasonable doubt that the official proceeding was “reasonably foreseeable”


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to the defendant. ECF 396 at 27; see also United States v. Sandlin, No. 21-cr-88, 2021 WL

5865006, at *12 (D.D.C. Dec. 10, 2021); United States v. Aguilar, 515 U.S. 593, 599-600 (1995).

That is, the defendant must “contemplate a particular, foreseeable official proceeding” and act with

knowledge that his or her behavior would probably obstruct or impede that contemplated

proceeding. Sandlin, 2021 WL 5865006, at *12.

       Furthermore, the government must prove that the defendant acted with “consciousness of

wrongdoing.” Arthur Andersen LLP v. United States, 544 U.S. 696, 705-06 (2005); see United

States v. Caldwell, No. 21-cr-28, 2021 WL 6062718, at *11 (D.D.C. Dec. 20, 2021). This means

the defendant’s conduct must be “independently criminal” that is “inherently malign” and

“committed with the intent to obstruct an official proceeding.” Sandlin, 2021 WL 5865006, at *13

(internal quotation marks omitted) (quoting United States v. North, 910 F.2d 843, 943 (D.C. Cir.

1990) (Silberman, J., concurring in part and dissenting in part); Arthur Andersen, 544 U.S. at 704).

Thus, those who engage in lawful, innocent conduct—even when done with the intent to obstruct,

impede, or influence the official proceeding—cannot be guilty of violating § 1512(c)(2). Id. (citing

Arthur Andersen, 544 U.S. at 705-06).

           b. Attempt

       The jury was also instructed that it could convict on Count 3 if the government proved

beyond a reasonable doubt that the individual defendant (1) intended to commit the crime of

obstruction of official proceeding and (2) took a substantial step toward committing the crime of

obstruction of an official proceeding which strongly corroborates or confirms that the defendant

intended to commit that crime. ECF 396 at 28.

       The D.C. Circuit has explained that “[t]he substantial step must be necessary to the

consummation of the crime and be of such a nature that a reasonable observer, viewing it in



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context, could conclude beyond a reasonable doubt that it was undertaken in accordance with a

design to violate the statute.” United States v. Nitschke, 843 F. Supp. 2d 4, 10 (D.C. Cir. 2011)

(quoting United States v. Bailey, 228 F.3d 637, 640 (6th Cir. 2000)). The defendant’s actions must

“unequivocally demonstrate[e] that the crime will take place unless interrupted by independent

circumstances.” Id. (quoting United States v. Goetzke, 494 F.3d 1231, 1237 (9th Cir. 2007)).

           c. Aiding and Abetting

       The essential elements of aiding and abetting the obstruction of an official proceeding

under 18 U.S.C. § 2 and § 1512(c)(2) require the government to prove beyond a reasonable doubt

that: (1) others committed or attempted to commit obstruction of an official proceeding; (2) the

defendant knew that obstruction of an official proceeding was going to be committed, was being

committed, or was attempted to be committed by others; (3) the defendant performed at least one

act in furtherance of the offense; (4) the defendant performed that act or acts for the purpose of

aiding, abetting, assisting, soliciting, facilitating, or encouraging others in committing, or

attempting to commit, the offense of obstruction of an official proceeding; and (5) the defendant

did that act or acts with the intent that others commit, or attempt to commit, the offense of

obstruction of an official proceeding. ECF 396 at 29-30 (Emphasis added).

       To satisfy the affirmative act element, the evidence must show that the defendant took

some action which rendered assistance to the principal. Rosemond v. United States, 572 U.S. 65,

72-73 (2014). Though it does not require participation in “each and every element of the offense,”

aiding and abetting requires some action by the defendant that helps to bring about an essential

element of the substantive offense. See id. at 74-75.

       Furthermore, the defendant “must not just in some sort associate himself with the venture,

but participate in it as something that he wishes to bring about and seek by his action to make it



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succeed.” Rosemond v. United States, 572 U.S. 65, 76 (2014) (quoting Nye & Nissen v. United

States, 336 U.S. 613, 619 (1949)). This element is satisfied when “a person actively participates

in a criminal venture with full knowledge of the circumstances constituting the charged offense.”

Id. at 77. For example, preparing a fraudulent document constituted aiding and abetting mail fraud

where the preparer knew his “confederate would take care of the mailing.” Id. (citing Pereira v.

United States, 347 U.S. 1 at 12 (1954)). But an intention to advance some different or lesser offense

is generally not sufficient; the intent “must go to the specific and entire crime charged.” Id. at 76.

Likewise, mere association with persons involved in a criminal venture or mere presence during

the commission of an offense is insufficient. See United States v. Bailey, 416 F.2d 1110, 1113

(D.C. Cir. 1969).

           d. Pinkerton Co-Conspirator Liability

       To convict a defendant of obstruction of an official proceeding using the Pinkerton

doctrine, the government must prove beyond a reasonable doubt that: (1) the defendant knowingly

joined a conspiracy; (2) the obstruction of an official proceeding was committed by a member of

that conspiracy; (3) the defendant was a member of the conspiracy at the time the obstruction was

committed; (4) the obstruction was committed during the existence of the conspiracy; (5) the

obstruction was committed in furtherance of the conspiracy; and (6) the charged offense was a

reasonably foreseeable consequence of the conspiracy. See ECF 396 at 31; Pinkerton v. United

States, 328 U.S. 640, 646-48 (1946); United States v. Long, 905 F.2d 1572, 1577 n.8 (D.C. Cir.

1990); United States v. Sampol, 636 F.2d 621, 676 (D.C. Cir. 1980).

   2. Under any theory of liability, the government failed to prove that the defendants
      violated 18 U.S.C. § 1512.

           a. The government failed to prove that any of the defendants actually
              “obstructed” or “impeded” Congress’s certification of the Electoral College



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               because the proceeding had stopped by the time any of the defendants reached
               restricted grounds.

       As a general matter, the government failed to prove that any of the defendants personally

obstructed or impeded Congress’s certification of the Electoral College on January 6, 2021. By

stipulation, members of Congress were ordered to be evacuated from the Capitol Building at 2:20

p.m. And at 2:29 p.m., the House of Representatives recessed under Rule 12(b), an emergency

provision of the House Rules. (Tr. 4442-43). A “recess,” according to Parliamentarian Thomas

Wickham, is a “temporary break in the proceedings” and “can last an indefinite time.” (Tr. 4442-

43, 4457-58). The government provided no evidence that the defendants were on restricted Capitol

grounds at the time members of the public breached the inside of the Capitol Building and when

Congress was evacuated.

       The government, moreover, provided no evidence that the specific actions of the

defendants caused Congress’s evacuation or recess. The defendants could not have “obstructed”

or “impeded” the certification, which was already stopped by the time any of them entered

restricted grounds. Additionally, Captain Ortega and Parliamentarian Wickham, on cross-

examination, agreed that the Electoral College certification would take “hours” to be restarted after

the evacuation because of the breach of the Capitol; Captain Ortega also agreed that a police-

involved shooting at 2:44 p.m. inside the Capitol was a contributing factor to the “hours” delay.

(Tr. 4033-35, 4058). It was therefore impossible for the defendants to “obstruct” or “impede” a

proceeding that was not proceeding and would not be restarted for hours. Notably, the

government’s witnesses did not allege or proffer that the defendants’ brief presence outside the

Capitol delayed the restarting of the certification process.

           b. None of the defendants “aided and abetted” the obstruction of the Electoral
              College certification.



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       The government also failed to adduce sufficient evidence that the defendants “aided and

abetted” the obstruction of the certification. Again, at the time the members of Congress were

evacuated, none of the defendants were on restricted grounds of the Capitol. The “emergency

evacuation” that was “ordered” by the Capitol Police, (Tr. 4035), stopped the certification process

without any of the defendants’ solicitation. Additionally, the stoppage of the certification would

last for hours—not because of anything the defendants did, but because of the breach of the Capitol

building by others a police-involved shooting.

       The government adduced no evidence that any of the Defendants did anything that would

have facilitated the obstruction of the certification process before Congress was evacuated or

recessed.

       The government’s aiding and abetting theory also fails because no proof was adduced

connecting Defendants to a specific principal who caused the evacuation or recess of Congress, or

who otherwise obstructed or impeded the certification: “Aiding and abetting, as used in the statute,

means to assist the perpetrator of a crime.” White v. United States, 366 F.2d 474, 476 (10th Cir.

1966). The government failed to prove that Watkins “aided someone in committing the

crime.” United States v. Yost, 24 F.3d 99, 104 (10th Cir. 1994); see also United States v. Martin,

747 F.2d 1404, 1407 (11th Cir. 1984) (“One cannot aid or abet himself.”). To “convict a defendant

of aiding and abetting the commission of a crime, the government must prove that the defendant

associated with a criminal venture, participated in the venture, and sought by his action to make

the venture succeed.” United States v. Silvas, No. 92-5586, 1993 U.S. App. LEXIS 39625, at *19

(5th Cir. 1993). A conviction for aiding and abetting cannot, however, be based upon a defendant’s

“inadvertent assistance” to others. United States v. Ortega, 44 F.3d 505, 507 (7th Cir. 1995).




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       Accordingly, as the substantive crime of obstructing an official proceeding under 18 U.S.C.

§ 1512(c)(2) was already completed before the defendants provably entered a restricted area of the

Capitol grounds, the defendants could not, as a matter of law, have aided and abetted that crime.

See United States v. Ferraro, 414 F.2d 802, 804 (5th Cir. 1969) (“A person cannot aid or abet a

crime which has already been completed.”). A crime is “completed” when all of its elements have

been performed unless the crime is explicitly characterized by Congress—or is by its very nature—

a “continuing offense.” 4 See, e.g., United States v. De La Mata, 266 F.3d 1275, 1287 (11th Cir.

2001) (holding that the crime of bank fraud is “completed upon the execution” of the fraud for

purposes of the statute of limitations); Ferraro, 414 F.2d at 804 (holding that defendant did not

aid and abet a bank employee who stole money) (“Whether she "embezzled," "abstracted" or

"purloined" the money. . . her offense was complete when she walked out of the bank with the

money in her possession and met the [defendant] on the parking lot.”). Finally, “[a] defendant may

not properly be convicted of aiding and abetting a crime that was completed before his accessorial

acts were performed.” United States v. Reifler, 446 F.3d 65, 96 (2d Cir. 2006).

       The crime of obstructing the certification process was de facto completed by the

perpetrators when Congress was ordered to be evacuated at 2:20 p.m. or, at the latest, at 2:29 p.m.

when Congress recessed.       By 2:20 p.m., Congress had not only been “obstructed” and




4
  Obstruction of an Official Proceeding under § 1512(c)(2) is clearly not a “continuing offense,”
as “the explicit language” of the statute “does not . . . compel[] such a conclusion,” and “the
nature of the crime involved is such that Congress [did not] assuredly [ ] intend[ ] . . . [to]
treat[ ] [it] as a continuing one.” Toussie v. United States, 397 U.S. 112, 115 (1970) (emphasis
added). Whether § 1512(c)(2) is a “continuing offense” depends exclusively “on the nature of
the substantive offense, not on the specific characteristics of the conduct in the case at issue.”
United States v. Niven, 952 F.2d 289, 293 (9th Cir. 1991); accord United States v. Dunne, 324
F.3d 1158, 1165 (10th Cir. 2003); United States v. Sunia, 643 F. Supp. 2d 51, 74 (D.D.C. 2009).



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“impeded”—the proceeding had been stopped altogether and members of Congress were in route

to a relocation center. See United States v. Delpit, 94 F.3d 1134, 1150 (8th Cir. 1996) (reversing

conviction for aiding and abetting the crime of causing another to travel interstate with intent to

facilitate a murder pursuant to 18 U.S.C. § 1958(a); the crime was completed once the principal

actually traveled interstate with the intent to commit murder, not a week later when the murder

was committed). The government adduced no evidence that the defendants were on restricted

grounds before 2:29 p.m., let alone evidence that they did anything that would have facilitated the

obstruction of the certification process before Congress was evacuated or recessed.

       The government’s aiding and abetting theory also fails because no proof was adduced

connecting the defendants to a specific principle who caused the evacuation or recess of Congress,

or who otherwise obstructed or impeded the certification. “Aiding and abetting, as used in the

statute, means to assist the perpetrator of a crime.” White v. United States, 366 F.2d 474, 476 (10th

Cir. 1966). The government failed to prove that the defendants “aided someone in committing the

crime.” United States v. Yost, 24 F.3d 99, 104 (10th Cir. 1994); see also United States v. Martin,

747 F.2d 1404, 1407 (11th Cir. 1984) (“One cannot aid or abet himself.”). To “convict a defendant

of aiding and abetting the commission of a crime, the government must prove that the defendant

associated with a criminal venture, participated in the venture, and sought by his action to make

the venture succeed.” United States v. Silvas, No. 92-5586, 1993 U.S. App. LEXIS 39625, at *19

(5th Cir. 1993). A conviction for aiding and abetting cannot, however, be based upon a defendant’s

“inadvertent assistance” to others. United States v. Ortega, 44 F.3d 505, 507 (7th Cir. 1995).

Although the principal can be anonymous, the government still has to identify a perpetrator of the

substantive crime who the defendants specifically assisted as part of a “criminal venture” on

January 6.



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       The government adduced no evidence that the defendants “actively participate[d] in a

criminal scheme knowing its extent and character[.]” Rosemond v. United States, 572 U.S. 65, 77

(2014). Additionally, “[i]t is well settled that mere presence at the scene of a crime and awareness

that a crime is being committed is insufficient to support a conviction for aiding and abetting.”

United States v. Salamanca, 990 F.2d 629, 638 (D.C. Cir. 1993); see also United States v.

Garguilo, 310 F.2d 249, 253 (2d Cir. 1962) (a defendant's presence at the scene of the crime may

be sufficient to support a conviction for aiding and abetting only if his presence "proved to have

positively encouraged the perpetrator himself."). As the Maryland Court of Appeals observed in

reversing an aiding and abetting conviction where the defendant stood by as a 3-month-old baby

was brutally murdered:

       The evidence certainly showed that Pope "witnessed a terrible event" and that she
       "stood by" while the mother killed the child. But the culpability for her conduct
       during the abuse of the child must be determined strictly within the law or else the
       basic tenets of our system of justice are prostituted. There is an understandable
       feeling of outrage at what occurred . . . [b]ut it is the law, not indignation, which
       governs.

Pope v. State, 284 Md. 309, 333 (1979) (emphasis added). Here, the defendants’ mere presence

near the Capitol, even as they stood witness to a “terrible event,” is insufficient to establish

liability. Accordingly, the government failed to meet its burden of proof to establish that the

defendants aided and abetted the commission of obstructing an official proceeding.

           c. None of the defendants “attempted” to obstruct the Electoral College
              certification.

The government’s case-in-chief adduced insufficient evidence to support a conviction for

“attempting” to obstruct the Electoral College certification. To constitute a criminal “attempt,”

the government must adduce

       proof of two elements: (1) an intent to engage in criminal conduct and (2) conduct



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       constituting a "substantial step" toward the commission of the substantive
       offense that strongly corroborates the criminal intent. If the substantial steps are
       themselves the sole proof of the criminal intent, then those steps unequivocally must
       evidence such an intent; that is, it must be clear that there was a criminal design
       and that the intent was not to commit some non-criminal act.

United States v. Dworken, 855 F.2d 12, 17 (1st Cir. 1988) (emphasis added); accord United States

v. Hite, 769 F.3d 1154, 1164 (D.C. Cir. 2014). As Judge Boasberg summarized:

       The act in furtherance is often described as a "substantial step" that demonstrates
       “a true commitment toward completing the crime” and that “the crime will take
       place unless interrupted by independent circumstances.” United States v. Hofus,
       598 F.3d 1171, 1174 (9th Cir. 2010) (internal quotations omitted). “[The
       substantial step] must be necessary to the consummation of the crime and be of
       such a nature that a reasonable observer, viewing it in context, could conclude
       beyond a reasonable doubt that it was undertaken in accordance with a design to
       violate the statute.” United States v. Bailey, 228 F.3d 637, 640 (6th Cir. 2000)
       (internal citation omitted).

Nitschke, 843 F. Supp. 2d at 10 (D.D.C. 2011). The government’s evidence does not come close

to showing that the individual defendants harbored an “unequivocal” or “true commitment” to

specifically (and corruptly) obstruct or impede the Electoral College certification.

       The government’s closing argument, in fact, forecloses any notion that Caldwell had a pre-

plan to specifically obstruct the Electoral College. The government claimed that the breach into

the Capitol was an “opportunity” that the Rhodes defendants “seized.”. (Tr., 9906, 10,277). In

other words, the defendants did not specifically plan to approach the Capitol; rather, according to

the government, they “seized an opportunity” when others took it upon themselves to penetrate

the Capitol Building. Accordingly, the government, at least up until the defendants entered the

restricted grounds, tacitly admitted that the defendants possessed no mens rea to stop the

certification. Their alleged substantial steps—including approaching the Capitol Building—also

do not “unequivocally” corroborate a “criminal intent” to obstruct or impede the Electoral College

certification. Dworken, 855 F.2d at 17. The defendants’ actions were not “necessary to the



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consummation of the crime and [… ] of such a nature that a reasonable observer, viewing in

context, could conclude beyond a reasonable doubt that it was undertaken in accordance with a

design to violate the statute.” Nitschke, 843 F. Supp. 2d at 4.

   3. Rhodes must be acquitted of obstructing an official proceeding because the
      government provided no evidence that he entered the Capitol, attempted to enter the
      Capitol, or encouraged others to do so.

       The government did not prove beyond a reasonable doubt—under any theory of liability—

that Defendant Rhodes is guilty of § 1512(c)(2). Principally, it is undisputed that Defendant

Rhodes never entered the Capitol Building on January 6. Rhodes did not even arrive at the grounds

near the Capitol until approximately 1500—well after members had been evacuated. Rhodes

therefore physically could not have “obstructed” or “impeded” the certification so as to support

his conviction for the substantive crime.

       Moreover, Rhodes was acquitted of Conspiracy to Obstruct an Official Proceeding—

demonstrating that the government failure to prove that Rhodes agreed to obstruct an official

proceeding. ECF 410 at 3. Because he did not join in the conspiracy, Rhodes cannot be found

guilty of the substantive office based upon a Pinkerton theory of liability.

       If he did not conspire to obstruct the Electoral College certification, he certainly did not

attempt to do so either. The government failed to prove that any of Rhodes’s actions amounted to

a “substantial step” towards obstructing the official proceeding. Rhodes’s acts of standing outside

the Capitol and talking to others simply does not evidence “a true commitment toward completing

the crime.” Nitschke, 843 F. Supp. 2d at 10 (D.D.C. 2011). Furthermore, it cannot seriously be

inferred that Rhodes “knew” his act of standing, talking, and messaging would obstruct an official

proceeding. Finally, even if his actions satisfied the “knowing” element, they certainly were not

“independently criminal” or “inherently malign.” See Sandlin, 2021 WL 5865006, at *13 (internal



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quotation marks omitted) (quoting United States v. North, 910 F.2d 843, 943 (D.C. Cir. 1990)

(Silberman, J., concurring in part and dissenting in part); Arthur Andersen, 544 U.S. at 704). As

such, the evidence failed to support a conviction for attempt under § 1512(c).

       Furthermore, the evidence fails to show that Rhodes aided or abetted any principal in

obstructing the Electoral College vote. As noted, the government failed to prove that there was a

plan to enter the Capitol or that Rhodes ever encouraged others to do so. In fact, witnesses testified

that he expressed displeasure with those who did enter the Capitol that day. His actions of standing

near the Capitol as others breached it also does not make him guilty: “It is well settled that mere

presence at the scene of a crime and awareness that a crime is being committed is insufficient to

support a conviction for aiding and abetting.” United States v. Salamanca, 990 F.2d 629, 638

(D.C. Cir. 1993); see also United States v. Garguilo, 310 F.2d 249, 253 (2d Cir. 1962) (a

defendant's presence at the scene of the crime may be sufficient to support a conviction for aiding

and abetting only if his presence “proved to have positively encouraged the perpetrator himself.”).

Accordingly—under any of liability—the evidence cannot sustain Rhodes’s conviction for

obstructing an official proceeding.

   4. With regard to Defendant Watkins

       The government failed to adduce legally sufficient evidence that Watkins violated 18

U.S.C. § 1512(c)(2) as charged in Count 3 of the Indictment. The jury was instructed as to four

theories of criminal liability upon which to convict Watkins under Count 3: 1) that Watkins

actually obstructed the Electoral College certification; 2) Pinkerton co-conspirator liability; 3) that

Watkins “aided and abetted” others to obstruct the proceeding; or, 4) that Watkins “attempted” to

obstruct the proceeding. (ECF 400, at 26) (jury instructions). As outlined below, the government

failed to meet its burden as to each theory of liability.



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       a. Watkins did not personally “obstruct” or “impede” the Electoral College
          certification.
       As a matter of law, Watkins did not personally “obstruct” or “impede” Congress’s

certification of the Electoral College on January 6, 2021. By stipulation, Members of Congress

were ordered to be evacuated from the Capitol Building at 2:20 p.m. Government’s Exhibit 1500

included CCTV footage of Watkins, as a member of group 1, stepping onto the Northwest Drive

sidewalk at approximately 2:21 P.M. (Govt. Exh. 1056.603.0224). Although Capitol Police

Captain Ortega established portions of Northwest Drive were restricted grounds on January 6,

2021, the government failed to establish notice of these restrictions. The barriers and signs

indicating the restricted portions of Northwest Drive were taken down prior to group 1 being

present on the grounds, and therefore Watkins’s, arrival at 2:21 P.M. (Caldwell Exhibit 80).

Furthermore, the government offered no proof that Watkins, specifically, lacked the authority to

be present on unrestricted grounds on January 6, 2021.

   The government, moreover, offered no proof that Watkins’ actions caused Congress’

evacuation or recess. Watkins did not “obstruct” or “impede” the certification, which was already

stopped or recessed, by the time she entered restricted grounds. The initial breach of the Capitol

that subsequently led to the evacuation of Congress occurred at 2:29 P.M. Additionally, Captain

Ortega and Parliamentarian Thomas Wickham, on cross-examination, agreed that the Electoral

College certification would take “hours” to be restarted after the evacuation because of the breach

of the Capitol; Captain Ortega also agreed that a police-involved shooting at 2:44 p.m., (Tr., 4058),

inside the Capitol was a contributing factor to the “hours” delay and the government failed to

distinguish how that delay, as opposed to Watkins’ presence in the Capitol, further delayed the

certification. (Tr., 4033-35, 4459-60). It was impossible for Watkins to “obstruct” or “impede” a




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proceeding that was not proceeding and would in fact, per the undisputed testimony, not be

restarted for hours.[1] The government’s witnesses did not allege or proffer that Watkins’s

presence delayed the restarting of the certification process.

       b. Pinkerton Liability
       The government improperly relied on the Pinkerton Doctrine when attempting to adduce

evidence beyond a reasonable doubt that Watkins obstructed an official proceeding. The arguments

above are incorporated herein. When examining Watkins and Meggs, the government failed to

adduce sufficient evidence that a conspiracy to obstruct an official proceeding existed. The

communication between defendants Watkins and Meggs preceding January 6, 2021 was sparse at

best. Furthermore, the interactions between defendants Watkins and Meggs on January 6,

2021were limited; mere presence in the same group does not suffice to amount to a conspiracy on

January 6, 2021. The government failed to adduce any evidence, let alone sufficient evidence, that

would have permitted a reasonable trier of fact to have reasonably inferred either Meggs or

Watkins had specific knowledge of the other’s intent, or lack thereof, to obstruct an official

proceeding. See United States v. Cook, 848 F. App’x 431 (D.C. Cir. 2021).

   Given the Pinkerton Doctrine presupposes the existence of a conspiracy, its application is

therefore rendered inappropriate in the absence of a conspiracy and is therefore inapplicable in the

case sub judice.

           c. Watkins did not “aid and abet” the obstruction of the Electoral College
              certification.
   The government failed to adduce sufficient evidence that Watkins “aided and abetted” the

obstruction of the Electoral College certification. (ECF 400, at 29-30), and all of the arguments

are incorporated from above.




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        The government also failed to meet its burden of proof as to aiding and abetting because

the evidence, in relation to Watkins, supported “an obvious alternative motive for [her]

behavior.” See United States v. Williams, 865 F.3d 1328, 1347 (11th Cir. 2017) (finding evidence

insufficient to convict defendant of aiding and abetting a boat operator’s attempt to “evade the

Coast Guard by jettisoning packages” by making “the boat lighter” when the defendant’s motive

was just as likely to have been to “rid [ ] the boat of contraband.”). Watkins was one of tens of

thousands of protestors in Washington, D.C. on January 6, 2021. Watkins was outfitted with gear

that unmistakably identified her as an individual who was exercising her First Amendment rights

and more consistent with one who was there to render medical aid than riot. There were “obvious

alternative motive[s]” for Watkins’s conduct on January 6, 2021. First, Watkins’s primary motive

on January 6, 2021 was to attend a variety of events, namely President Trump’s speech. Second,

motive of Watkins was to provide security detail to the VIP speakers of the “Stop the Steal”

events.. Third, Watkins could have been there to “have her voice heard”. Fourth, she could have

been present, and evidence was adduced to this effect, to render medical aid. These “motives”—

especially in light of the stoppage of the certification process before Watkins entered Capitol

grounds—were much more likely than a motive to “obstruct” or “impede” a recessed

proceeding. See Rosemond, 572 U.S. at 76 (“a person aids and abets a crime when (in addition to

taking the requisite act) he intends to facilitate that offense’s commission[,] [but] [a]n intent to

advance some different or lesser offense is not, or at least not usually, sufficient: Instead, the intent

must go to the specific and entire crime charged[.]”) (emphasis added).

        The government’s evidence, additionally, was not legally sufficient to show that Watkins

acted “corruptly” within the meaning of § 1512(c)(2). Watkins did not use “unlawful means,”

(ECF 400, at 27), on January 6, 2021. Watkins committed no assaults against police, and never



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encouraged anyone to do those acts. Likewise, Watkins did not act with an “improper purpose.” Id.

Watkins’s actions were consistent with tens of thousands of protestors who came to the District to

exercise their First Amendment rights. Simply put, the government failed to prove that Watkins

acted “corruptly” in any shape or form on January 6, 2021.

           d. Watkins did not “attempt” to obstruct the Electoral College certification.


       The government’s closing argument, in fact, forecloses any notion that Watkins had a pre-

plan to specifically obstruct the Electoral College. The government claimed that the breach into

the Capitol was an “opportunity” that the Rhodes defendants “seized” upon. (Tr., 9906, 10,277).

In other words, Watkins did not specifically plan to approach the Capitol; rather, according to the

government, she “seized an opportunity” when others took it upon themselves to penetrate the

Capitol Building. Accordingly, the government tacitly admitted that Watkins possessed no mens

rea to stop the certification. Watkins’s alleged substantial step, i.e., yelling “push” in the Senate

hallway does not “unequivocally” corroborate a “criminal intent” to obstruct or impede the

Electoral College certification. Dworken, 855 F.2d at 17. Watkins’s actions were not “necessary

to the consummation of the crime and [ ] of such a nature that a reasonable observer, viewing in

context, could conclude beyond a reasonable doubt that it was undertaken in accordance with a

design to violate the statute.” Nitschke, 843 F. Supp 2d at 4.

       There were no barriers blocking Watkins’s way when she entered the Capitol grounds,

which are typically open to the public. Moreover, the government adduced no testimony that

Watkins’s actions actually obstructed or impeded, or could have obstructed, the certification.

What Watkins was allegedly “attempting,” i.e., stopping the certification, was both legally and

factually impossible because the proceeding had been evacuated and recessed. While




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“impossibility” is not a defense to a criminal attempt when the defendant is unaware of the

impossibility, e.g., attempting to solicit an FBI agent posing online as a minor, it is an airtight

defense when the defendant is aware of the impossibility. How could Watkins specifically intend

to “obstruct” or “impede” a proceeding that she knew was not proceeding because Members of

Congress had already left the Capitol?

    5. Defendant Caldwell
       The government failed to adduce legally sufficient evidence that Caldwell violated 18

U.S.C. § 1512(c)(2) as charged in Count 3 of the Indictment. The jury was instructed as to four

theories of criminal liability upon which to convict Caldwell under Count 3: 1) that Caldwell

actually obstructed the Electoral College certification; 2) Pinkerton co-conspirator liability; 3) that

Caldwell “aided and abetted” others to obstruct the proceeding; or, 4) that Caldwell “attempted”

to obstruct the proceeding.     (ECF 400, at 26) (jury instructions).        As outlined below, the

government failed to meet its burden as to each theory of liability. 5

       a. Caldwell did not personally “obstruct” or “impede” the Electoral College
          certification.
       As a matter of law, Caldwell did not personally “obstruct” or “impede” Congress’

certification of the Electoral College on January 6, 2021. By stipulation, Members of Congress




5
 In addition to the arguments set forth in the instant filing, Caldwell asserts as grounds for
granting judgment of acquittal as to Count 3 his legal arguments set forth in two prior
motions to dismiss, which argued that 18 U.S.C. § 1512(c)(2) does not apply to scenarios
that involve non-tangible evidence tampering and that the Electoral College certification is
not an “official proceeding” under the statute. See United States v. Caldwell (ECF Nos. 240,
350, 566 and 558) and Rhodes at (ECF No. 84, at 19-30 & ECF No. 176)). Accordingly,
because the government failed to adduce evidence that an “official proceeding” was taking
place on January 6, 2021 and no evidence was presented that Caldwell targeted tangible
objects for obstruction, Caldwell’s motion for judgment of acquittal should be granted.


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were ordered to be evacuated from the Capitol Building at 2:20 p.m. Government’s Exhibit 1500

included a “selfie” of Caldwell taken at 2:19 p.m. while he was standing by the Peace Fountain

which, according to Capitol Police Captain Ortega, was unrestricted grounds on January 6, 2021.

(Tr., 4028-29; Govt. Exh. 7026). The government provided no testimony as to when Caldwell

specifically entered restricted grounds, although a photo taken by Caldwell’s cell phone placed

him close to the Capitol steps at 2:38 p.m. (Govt. Exh. 1500).

       Government’s Exhibit 1500 proved that Caldwell was not on restricted Capitol grounds at

the time members of the public breached the inside of the Capitol Building and when Congress

was evacuated. The government, moreover, offered no proof that Caldwell’s actions caused

Congress’s evacuation or recess. Caldwell did not “obstruct” or “impede” the certification, which

was already stopped by the time he entered restricted grounds. Additionally, Captain Ortega and

Parliamentarian Thomas Wickham, on cross-examination, agreed that the Electoral College

certification would take “hours” to be restarted after the evacuation because of the breach of the

Capitol; Captain Ortega also agreed that a police-involved shooting at 2:44 p.m., (Tr., 4058), inside

the Capitol was a contributing factor to the “hours” delay. (Tr., 4033-35, 4459-60).          It was

impossible for Caldwell to “obstruct” or “impede” a proceeding that was not proceeding and would

in fact, per the undisputed testimony, not be restarted for hours. 6 Notably, the government’s

witnesses did not allege or proffer that Caldwell’s brief presence outside the Capitol delayed the




6
  At 2:29 p.m., the House of Representatives recessed under Rule 12(b), an emergency provision
of the House Rules. (Tr., 4442-43). A “recess,” according to Parliamentarian Wickham, is “a
temporary break in the proceedings” and “can last an indefinite time.” (Tr., 4442-43, 4457-58).
Wickham testified that armed law enforcement was on the Senate floor after the recess until at
least 3:08 p.m. (Tr., 4449). Special Agent Palian acknowledged that Caldwell was not on
Capitol grounds at 3:05 p.m. (Tr., 1649).



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restarting of the certification process.

       Government’s Exhibit 1500 provided Caldwell a rock-solid alibi proving that he did not

actually obstruct or impede the Electoral College certification. Caldwell ascended one flight of

stairs, exited to a temporary Inaugural balcony, and spent minutes on the balcony before exiting. 7

By 3:05 p.m. Caldwell, per Special Agent Palian’s testimony, was not even on Capitol grounds,

whereas armed law enforcement were still occupying the Senate floor at 3:08 p.m. (Tr., 1649,

4449). In short, the government provided no evidence that Caldwell personally obstructed or

impeded a proceeding that was already stopped and where Members of Congress were in route,

per an evacuation order, to an off-site relocation center during the brief time Caldwell was on

Capitol grounds. 8

       b. As Caldwell was acquitted of conspiracy, Pinkerton liability does not apply.

       A second theory upon which Caldwell was accused of violating 18 U.S.C. § 1512(c)(2)

was Pinkerton co-conspirator liability. (ECF 400, at 31). Caldwell, however, was acquitted of all

conspiracy counts, including Count 2, which charged him with Conspiracy to Obstruct an Official

Proceeding.    Accordingly, Caldwell cannot be found guilty of the substantive offense of

Obstruction of an Official Proceeding based upon a Pinkerton theory of liability.



7
  The government’s case provided scant assistance vis-a-vis a timeline of Caldwell’s
whereabouts. At 2:19 p.m., Caldwell was clearly on unrestricted grounds by the Peace Fountain.
At 2:38 p.m., the government placed Caldwell on Capitol grounds approaching scaffolding. The
“Pelosi doorknob video” taken by Mrs. Caldwell is one minute and seventeen seconds in
duration and starts at timestamp 2:51:56 p.m. (Caldwell Exh. 87). At the end of the video,
Caldwell and his wife start the process of leaving the balcony. Accordingly, the government’s
case-in-chief supported an inference that Caldwell was on the Inaugural balcony for only two to
three minutes before he exited with his wife.
8
 Captain Ortega testified that Members of Congress were evacuated to a “relocation center.”
(Tr., 4025). The location of this relocation center was not disclosed to the jury.



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       c. Caldwell did not “aid and abet” the obstruction of the Electoral College
          certification.

       The government failed to adduce sufficient evidence that Caldwell “aided and abetted” the

obstruction of the Electoral College certification . (ECF 400, at 29-30). The undisputed evidence

is that Caldwell was physically situated on unrestricted grounds at the time members of Congress

were evacuated. The “emergency evacuation” that was “ordered” by the Capitol Police, (Tr.,

4035), stopped the certification process without Caldwell’s facilitation. Additionally, as noted

above, the stoppage of the certification would last for hours, not because of anything Caldwell did,

but because of the breach of the Capitol Building by others and a police-involved shooting.

       Accordingly, as the substantive crime of obstructing an official proceeding under 18

U.S.C. § 1512(c)(2) was already completed before Caldwell provably entered a restricted area of

the Capitol grounds, he could not, as a matter of law, have aided and abetted that crime. See

United States v. Ferraro, 414 F.2d 802, 804 (5th Cir. 1969) (“A person cannot aid or abet a crime

which has already been completed.”). A crime is “completed” when all of its elements have

been performed unless the crime is explicitly characterized by Congress, or is by its very nature,

a “continuing offense.” 9 See, e.g., United States v. De La Mata, 266 F.3d 1275, 1287 (11th Cir.

2001) (holding that the crime of bank fraud is “completed upon the execution” of the fraud for

purposes of the statute of limitations); Ferraro, 414 F.2d at 804 (holding that defendant did not

aid and abet a bank employee who stole money: “Whether she "embezzled," "abstracted" or

"purloined" the money. . . her offense was complete when she walked out of the bank with the




10
  The Caldwells wore no military-style gear and were not performing any security functions on
January 6, 2021. Mrs. Caldwell was adorned in “Trump” campaign paraphernalia, and the
couple was also carrying Trump and American flags.



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money in her possession and met the [defendant] on the parking lot.”). Finally, “[a] defendant

may not properly be convicted of aiding and abetting a crime that was completed before his

accessorial acts were performed.” United States v. Reifler, 446 F.3d 65, 96 (2d Cir. 2006).

       The crime of obstructing the certification process was de facto completed by the

perpetrators when Congress was ordered to be evacuated at 2:20 p.m. or, at the latest, at 2:29

p.m. when Congress recessed. By 2:20 p.m., Congress had not only been “obstructed” and

“impeded”--the proceeding had been stopped altogether and Members of Congress were enroute

to a relocation center. See United States v. Delpit, 94 F.3d 1134, 1150 (8th Cir. 1996) (reversing

conviction for aiding and abetting the crime of causing another to travel interstate with intent to

facilitate a murder pursuant to 18 U.S.C. § 1958(a); the crime was completed once the principal

actually traveled interstate with the intent to commit murder, not a week later when the murder

was committed). The government adduced no evidence that Caldwell was on restricted grounds

before 2:29 p.m. let alone evidence that he did anything that would have facilitated the

obstruction of the certification process before Congress was evacuated or recessed.

       The government’s aiding and abetting theory also fails because no proof was adduced

connecting Caldwell to a specific principal who caused the evacuation or recess of Congress, or

who otherwise obstructed or impeded the certification: “Aiding and abetting, as used in the

statute, means to assist the perpetrator of a crime.” White v. United States, 366 F.2d 474, 476

(10th Cir. 1966). The government failed to prove that Caldwell “aided someone in committing

the crime.” United States v. Yost, 24 F.3d 99, 104 (10th Cir. 1994); see also United States v.

Martin, 747 F.2d 1404, 1407 (11th Cir. 1984) (“One cannot aid or abet himself.”). To “convict a

defendant of aiding and abetting the commission of a crime, the government must prove that the

defendant associated with a criminal venture, participated in the venture, and sought by his



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action to make the venture succeed.” United States v. Silvas, No. 92-5586, 1993 U.S. App.

LEXIS 39625, at *19 (5th Cir. 1993). A conviction for aiding and abetting cannot, however, be

based upon a defendant’s “inadvertent assistance” to others. United States v. Ortega, 44 F.3d

505, 507 (7th Cir. 1995).

       The jury acquitted Caldwell in relation to the alleged Oath Keepers “criminal venture.”

The government’s case, accordingly, did not identify a principal that Caldwell specifically

assisted in obstructing or impeding the certification. Although the principal can be anonymous,

the government still has to identify a perpetrator of the substantive crime who Caldwell

specifically assisted as part of a “criminal venture” on January 6, 2021. The government

produced no video or witnesses to show or describe Caldwell’s actions between 2:19 p.m. and

2:38 p.m. The infamous “Pelosi doorknob video” shows Caldwell saying “USA, USA,” but

interacting with nobody except his wife before encouraging her to exit the balcony with him. See

United States v. Camacho, 233 F.3d 1308, 1317 (11th Cir. 2000) (to prove aiding and abetting,

the government must demonstrate that “the defendant committed an act which contributed to and

furthered the offense[.]”). The “doorknob” video shows no “concert of purpose” by Caldwell

with a principal to obstruct the certification process. See United States v. Peoni, 100 F.2d 401,

403 (2d Cir. 1938).

       The government adduced no evidence that Caldwell “actively participate[d] in a criminal

scheme knowing its extent and character[.]” Rosemond v. United States, 572 U.S. 65, 77 (2014).

Additionally, “[i]t is well settled that mere presence at the scene of a crime and awareness that a

crime is being committed is insufficient to support a conviction for aiding and abetting.” United

States v. Salamanca, 990 F.2d 629, 638 (D.C. Cir. 1993); see also United States v. Garguilo, 310

F.2d 249, 253 (2d Cir. 1962) (a defendant's presence at the scene of the crime may be sufficient



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to support a conviction for aiding and abetting only if his presence "proved to have positively

encouraged the perpetrator himself."). As the Maryland Court of Appeals observed in reversing

an aiding and abetting conviction where the defendant stood by as a 3-month old baby was

brutally murdered:

       The evidence certainly showed that Pope "witnessed a terrible event" and that she "stood

by" while the mother killed the child. But the culpability for her conduct during the abuse of the

child must be determined strictly within the law or else the basic tenets of our system of justice are

prostituted. There is an understandable feeling of outrage at what occurred . . . [b]ut it is the law,

not indignation, which governs. Pope v. State, 284 Md. 309, 333 (1979) (emphasis added).

       The government also failed to meet its burden of proof as to aiding and abetting because

the evidence, in relation to Caldwell, supported “an obvious alternative motive for [his] behavior.”

See United States v. Williams, 865 F.3d 1328, 1347 (11th Cir. 2017) (finding evidence insufficient

to convict defendant of aiding and abetting a boat operator’s attempt to “evade the Coast Guard by

jettisoning packages” by making “the boat lighter” when the defendant’s motive was just as likely

to have been to “rid […] the boat of contraband.”). Caldwell was one of tens of thousands of

protestors in Washington, D.C. on January 6, 2021. Caldwell and his wife were outfitted with gear

that unmistakably identified themselves as individuals who were exercising their First Amendment

rights. 10 There were “obvious alternative motive[s]” for Caldwell’s conduct on January 6, 2021.

First, as there were no barriers blocking access at the time of his arrival to the Peace Fountain,

(Tr., 4813; Caldwell Exh. 80), Caldwell’s motive could have been--under the belief that his



10
  The Caldwells wore no military-style gear and were not performing any security functions on
January 6, 2021. Mrs. Caldwell was adorned in “Trump” campaign paraphernalia, and the
couple was also carrying Trump and American flags.



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conduct was legal--to simply walk on Capitol grounds that are “typically” open to the public. (Tr.,

4029). Second, Caldwell’s motive could have been to “vent” his frustration at Congress. Third,

Caldwell may have simply wanted to have his “voice heard.” Fourth, Caldwell may have just

followed the crowd with no particular purpose in mind. All of these “motives”—especially in light

of the stoppage of the certification process before Caldwell entered Capitol grounds—were much

more likely than a motive to “obstruct” or “impede” a recessed proceeding. See Rosemond, 572

U.S. at 76 (“a person aids and abets a crime when (in addition to taking the requisite act) he intends

to facilitate that offense’s commission[,] [but] [a]n intent to advance some different or lesser

offense is not, or at least not usually, sufficient: Instead, the intent must go to the specific and entire

crime charged[.]”) (emphasis added).

        The government’s evidence, additionally, was not legally sufficient to show that Caldwell

acted “corruptly” within the meaning of § 1512(c)(2). Caldwell did not use “unlawful means,”

(ECF 400, at 27), on January 6, 2021. Caldwell committed no assaults against police, never

attempted to enter the Capitol, and never encouraged anyone to do those acts. Likewise, Caldwell

did not act with an “improper purpose.” Id. Caldwell’s actions were consistent with tens of

thousands of protestors who came to the District to exercise their First Amendment rights. Simply

put, the government failed to prove that Caldwell acted “corruptly” in any shape or form on

January 6, 2021.

        Accordingly, the government failed to meet its burden of proof that Caldwell aided and

abetted the commission of Obstruction of an Official Proceeding.

        d. Caldwell did not “attempt” to obstruct the Electoral College certification.

        The government’s case-in-chief adduced insufficient evidence to support an “attempt” to

obstruct the Electoral College certification conviction. Per Caldwell Exhibit 80, introduced during


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Special Agent Whitney Drew’s testimony, the police presence and barriers blocking access to the

walkway leading from the Peace Fountain to the Capitol steps had been thoroughly vanquished by

12:57 p.m., sixteen minutes before Caldwell arrived at the Peace Fountain. 11 (Tr., 4812-13).

Captain Ortega testified that the restricted grounds upon which Caldwell traversed are typically

open to the public and that individuals who walk up the Capitol steps are ordinarily met by an

officer who directs them to a public entrance to the Capitol. (Tr., 4029).

         To constitute a criminal “attempt,” the government must adduce proof of two elements: (1)

an intent to engage in criminal conduct and (2) conduct constituting a "substantial step" toward the

commission of the substantive offense that strongly corroborates the criminal intent. If the

substantial steps are themselves the sole proof of the criminal intent, then those steps

unequivocally must evidence such an intent; that is, it must be clear that there was

a criminal design and that the intent was not to commit some non-criminal act. United States v.

Dworken, 855 F.2d 12, 17 (1st Cir. 1988) (emphasis added); accord United States v. Hite, 769

F.3d 1154, 1164 (D.C. Cir. 2014). As Judge Boasberg summarized: The act in furtherance is often

described as a "substantial step" that demonstrates "a true commitment toward completing the

crime"    and   that   "the   crime   will   take   place   unless   interrupted   by   independent

circumstances." United States v. Hofus, 598 F.3d 1171, 1174 (9th Cir. 2010) (internal quotations

omitted). "[The substantial step] must be necessary to the consummation of the crime and be of

such a nature that a reasonable observer, viewing it in context, could conclude beyond a reasonable

doubt that it was undertaken in accordance with a design to violate the statute." United States v.



11
  Special Agent Drew could not testify as to what time Caldwell arrived at the Peace Fountain.
(Tr., 4813). However, Govt.’s Exhibit 1500 depicted an expanding orange line showing that
Caldwell and his wife arrived at the Peace Fountain at 1:13 p.m. See (Govt.’s Exh. 1500).



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Bailey, 228 F.3d 637, 640 (6th Cir. 2000) (internal citation omitted).

United States v. Nitschke, 843 F. Supp. 2d 4, 10 (D.D.C. 2011). The government’s evidence

doesn’t come close to showing that Caldwell harbored an “unequivocal” or “true commitment” to

specifically (and corruptly) obstruct or impede the Electoral College certification.The

government’s closing argument, in fact, forecloses any notion that Caldwell had a pre-plan to

specifically obstruct the Electoral College. The government claimed that the breach into the

Capitol was an “opportunity” that the Rhodes defendants “seized” upon. (Tr., 9906, 10,277). In

other words, Caldwell did not specifically plan to approach the Capitol; rather, according to the

government, he “seized an opportunity” when others took it upon themselves to penetrate the

Capitol Building. Accordingly, the government, at least up until Caldwell’s arrival at the Peace

Fountain, tacitly admitted that Caldwell possessed no mens rea to stop the certification. Caldwell’s

alleged substantial step, i.e., walking on Capitol grounds, up a flight of stairs, and saying “USA,

USA,” does not “unequivocally” corroborate a “criminal intent” to obstruct or impede the Electoral

College certification. Dworken, 855 F.2d at 17. Caldwell’s actions were not “necessary to the

consummation of the crime and […] of such a nature that a reasonable observer, viewing in

context, could conclude beyond a reasonable doubt that it was undertaken in accordance with a

design to violate the statute.” Nitschke, 843 F. Supp 2d at 4.

       Caldwell was towards the back of a crowd that made its way onto Capitol grounds. There

were no barriers blocking Caldwell’s way when he entered the Capitol grounds, which are typically

open to the public. Special Agent Palian testified that Caldwell neither entered the Capitol nor

damaged any property on Capitol grounds. (Tr., 1648-49). Caldwell, in fact, voluntarily exited

the Inaugural balcony after only a few minutes. Moreover, the government adduced no testimony

that Caldwell’s actions actually obstructed or impeded, or could have obstructed, the certification.



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What Caldwell was allegedly “attempting,” i.e., stopping the certification, was both legally and

factually impossible because the proceeding had been evacuated and recessed.                 While

“impossibility” is not a defense to a criminal attempt when the defendant is unaware of the

impossibility, e.g., attempting to solicit an FBI agent posing online as a minor, it is an airtight

defense when the defendant is aware of the impossibility. How could Caldwell specifically intend

to “obstruct” or “impede” a proceeding that he knew—as demonstrated by the “Pelosi doorknob

video”--was not proceeding because Members of Congress had already left the Capitol? 12

       Accordingly, for the reasons stated supra, Caldwell did not, as a matter of law, “attempt”

to obstruct or impede the certification process.

       e. The government cannot rely on Caldwell’s uncorroborated messages.
To the extent that the government relies on messages that Caldwell made subsequent to the events

at the Capitol on January 6, 2021 in support of upholding the § 1512(c)(2) conviction, such reliance

is misplaced as Caldwell’s statements were not corroborated. The D.C. Circuit has ruled that “a

conviction cannot rest on a defendant's out-of-court statement made subsequent to the crime,

whether exculpatory or inculpatory, unless the government produces substantial independent

evidence which would tend to establish the trustworthiness of the statement.” United States v.

Dickerson, 163 F.3d 639, 641 (D.C. Cir. 1999) (emphasis added) (citing Opper v. United States,

348 U.S. 84, 92-93 (1954)). Rather than adducing “substantial independent evidence . . .

establish[ing] the trustworthiness” of Caldwell’s messages, the government specifically

questioned the trustworthiness of Caldwell’s messages before the jury.

       In redirect examination of Special Agent Palian, the government expressly blamed


12
  In the “doorknob” video, Mrs. Caldwell is heard saying that “Congress has left” the Capitol
because they were “p------.” (Caldwell Exh. 87).



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Caldwell’s fantastical messages to explain why the FBI mistakenly believed that Caldwell had: 1)

entered the Capitol Building, 13 (Tr., 1850-51, 1859); 2); led the Oath Keepers stack in breaching

the Capitol on January 6, 2021, 14 (Tr., 1857); 3) actively searched for Members of Congress in

tunnels on January 6, 2021, 15 (Tr., 1859-60); 4) received instructions on how to track down

Members of Congress from the outside, (id.); and 5) why the FBI believed that Caldwell posed a

specific danger to the public, 16 (Tr., 1866), justifying an FBI raid of Caldwell’s farm for which




13
  Palian testified that Caldwell’s Facebook records contained “statements made by Mr. Caldwell
that gave [me] the impression that he was inside the [Capitol] building[.]” (Tr., 1850).

14
  Palian testified:
         Q. In the next message . . . what did Mr. Caldwell say at 2:48 p.m.?
         A. At 2:48 p.m., "We are surging forward. Doors breached."
         Q. Had you read this message before you applied for a warrant for Mr. Caldwell's
        arrest?
         A. Yes, and at that time, we also know that the Oath Keepers Stack 1 had
        breached those doors at 2:40 p.m.
(Tr., 1857) (emphasis added).
15
     Palian testified:

       Q. Turning to the next message, message 55, did somebody say, "Tom, all
       legislators are down in the tunnels, 3 floors down"?
       A. Yes, this caused us to believe that Mr. Caldwell was receiving instructions
       from the outside while he was inside the Capitol.
(Tr. 1859-60).

16
     Palian testified:

        Q And did . . . these messages that you found, inform at all your understanding of
        any threat that might be posed by Defendant Caldwell?
        A Yeah, we thought there was a significant threat at the time.
(Tr., 1866) (emphasis added).




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“predication” was based upon false assumptions. 17 On cross-examination, Palian bluntly testified

that Caldwell was not “truthful” in his messages. 18 (Tr., 1648-49).

          In short, instead of corroborating the trustworthiness of Caldwell’s post- January 6, 2021

messages, the government’s case sent a clear message to the jury: Caldwell’s messages cannot be

trusted. Additionally, the content of Caldwell’s messages was clearly at odds with video and

photographic evidence presented by the government. Caldwell did not plant a flag on the Capitol

steps as he mused in a message, (Govt. Exh. 2001.T.1); Caldwell, in fact, was at the Peace Fountain

at 2:11 p.m. when this message was sent. See (Govt. Exh. 1500). Caldwell did not “take the damn

Capitol,” (Govt. Exh. 2001.T.1), as he boasted in a subsequent message; there were throngs of

people between Caldwell and the Capitol at the time this message was sent.


C. Conspiracy to Prevent Members of Congress from Discharging Their Duties (Count 4)


          Defendants Meggs, Harrelson and Watkins were convicted of Conspiracy to Prevent

Members of Congress from Discharging their Duties. As charged, the elements of the offenses

could require proof of a fact the other does not. As found, the offenses do not require proof of a

different fact.




17
  Palian testified that the FBI investigation into Caldwell was “predicated” on the Bureau’s
mistaken belief that Caldwell held a “leadership role” within the Oath Keepers and that he
“stormed inside the Capitol” on January 6, 2021. (Tr., 1629-31).
18
     Palian testified:
          Q. But you can confirm that the words in Mr. Caldwell’s messages didn’t match
          up with his actions that day; is that correct?
          A. No, Mr. Caldwell doesn’t seem to have been truthful; that’s correct.
(Tr., 1648-49).



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        In Blockburger v. United States, 284 U.S. 299 (1932), the Supreme Court outlined the test

to determine whether the same act or transaction constitutes a violation of two distinct statutory

provisions. “The applicable rule is that where the same act or transaction constitutes a violation

of two distinct statutory provisions, the test to be applied to determine whether there are two

offenses or only one, is whether each provision requires proof of a fact which the other does not.”

Id. at 304.

        The elements of Count two are: “First, that the defendant conspired or agreed with at least

one other person with the goal of committing the crime of obstructing an official proceeding. Second,

that the defendant joined or entered into that agreement with awareness of its unlawful goal.” [ECF

400, at 25].

        The elements of Count Four are: “First, that the defendant agreed with at least one other person

to, by force, intimidation, or threat, (1) prevent a Member of Congress from discharging a duty as a

Member of Congress, or (2) induce a Member of Congress to leave the place where the member of

Congress’s duties are required to be performed. Second, that the defendant knew of the agreement and

willfully joined the agreement.” [ECF 400, at 32].

        The findings of the jury eliminated proof of a different fact when they determined the

defendant’s guilt based on a theory of liability that the defendants prevented Congress from

discharging their duty and not inducing a member of Congress to leave the place where the member

of Congress’ duties are required to be performed. he definitions are the same regarding Congress’

duty in each Count and thus fall prey to a Blockburger analysis as found. Accordingly, the

elements of the offenses do not require proof of a separate fact or element.

        Consequently, the analysis for Count Four is the same as articulated supra regarding Count

Two and will not be re-stated herein for purposes of brevity.



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D. Obstructing Officers During a Civil Disorder (Count 6)

       The essential elements of the charge of interference with officers during a civil disorder

include proving beyond a reasonable doubt that the defendant knowingly committed an act; in

committing that act, the defendant intended to obstruct, impede, or interfere with one or more law

enforcement officers; at the time of the defendant’s actual act, the law enforcement officer or

officers were engaged in the lawful performance of their official duties incident to and during a

civil disorder; and the civil disorder in any way or degree obstructed, delayed, or adversely affected

either commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function. (Jury Instructions, ECF 400) (See also United

States v. Bingert, 2022 U.S. Dist. LEXIS 83790 (D.D.C. May 25, 2022). Here no reasonable juror

could have found the government provided sufficient evidence that Defendant Watkins committed

the offense of obstructing officers during a civil disorder beyond a reasonable doubt at the close

of the government’s case in chief.

       The government relied on public source footage of Watkins shouting “push. . . they can’t

hold us.” The government, however, failed to provide evidence of who Watkins was referencing

when she stated “they”; there government provided no evidence that Watkins was referencing the

police. 18 U.S.C. § 231(a)(3) requires the defendant act with obstructive intent, meaning the

defendant need act with specific intent to obstruct a law enforcement officer. McHugh, 2022 U.S.

Dist. LEXIS 18138, 2022 WL 296304, at *14 (citing Nat'l Mobilization Comm. to End War in

Vietnam v. Foran, 411 F.2d 934, 937 (7th Cir. 1969) and United States v. Mechanic, 454 F.2d 849,

854 (8th Cir. 1971). Watkins could not see the end of the Senate Hallway and therefore lacked the

requisite knowledge of identity of the entity providing resistance. “They” could have been a

reference to an object physically blocking the hallway or other individuals participating in the


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push; there is no evidence denoting “they” was an explicit reference to law enforcement. Without

this knowledge, Watkins consequently lacked the requisite specific intent; it was not shown she

knew the entity resisting the “push” was law enforcement as opposed to other persons in the

Capitol and therefore could not have intended to obstruct, impede, or interfere with one or more

law enforcement officers.

E. Tampering with Documents or Proceedings (Counts 7-10)
       The jury convicted Defendants Rhodes, Meggs, Harrelson, and Caldwell of Tampering

with Documents or Proceedings pursuant to 18 U.S.C. § 1512(c)(1) Counts 7-10). To sustain a

conviction under § 1512(c)(1), the government was required to prove:

       First, the defendant altered, destroyed, mutilated, or concealed a record, document,
       or other object;
       Second, the defendant acted knowingly;
       Third, the defendant acted corruptly; and
       Fourth, the defendant acted with intent to impair the object’s integrity or availability
       for use in an official proceeding.

       a. The Grand Jury Proceeding was not Foreseen.

       With respect to each of the charged defendants, the government failed to prove a “nexus”

as between their conduct and the Grand Jury’s investigation.              Specifically, the “official

proceeding” the government alleges was affected by the defendants’ alleged actions was a grand

jury empaneled on or about January 8, 2021. Gov. Exh. 3012. Other than the stipulation, however,

there was no evidence of the defendants’ actual knowledge of the official proceeding.

Accordingly, the instant case is distinguishable from other § 1512 cases wherein defendants had

actual knowledge of grand jury proceedings or investigations targeted at them. See, e.g., United

States v. Pugh, 937 F.3d 108, 121 (2d Cir. 2019) ("[W]e have found the nexus requirement satisfied

where a grand jury proceeding was 'foreseeable' because the defendant was aware that he was the



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target of an investigation.”); United States v. Black, 530 F.3d 596, 603 (7th Cir. 2008) (“There was

evidence that Black knew that the alleged frauds were being investigated by a grand jury and by

the SEC.”); United States v. Simpson, 741 F.3d 539, 552 (5th Cir. 2014) (“Simpson admitted that

he deleted the emails after learning about the executed search warrants.”); United States v. Persico,

645 F.3d 85, 108 (2d Cir. 2011) (“In sum, the evidence was sufficient for the jury to find that

Persico had been informed by the government that he was the target of an investigation into the

disappearance of Cutolo; [and,] that a grand jury proceeding on that matter was thus foreseeable

to Persico and DeRoss[.]”).

       To violate § 1512(c)(1), “[a] proceeding must at least be ‘foreseen,’ such that the defendant

has in contemplation some particular official proceeding in which the destroyed evidence might

be material.” United States v. Simpson, 741 F.3d 539, 552 (5th Cir. 2014) (emphasis added); accord

United States v. Petruk, 781 F.3d 438, 445 (8th Cir. 2015). The government must show that the

defendants intended “actions were likely to affect a[n] [official] proceeding” to prove beyond a

reasonable doubt that he “had the requisite intent to obstruct.” United States v. Friske, 640 F.3d

1288, 1293 (11th Cir. 2011). The government’s argument as to these defendants’ alleged unlawful

intent is circular, i.e., because the government believes the defendants engaged in felonies on

January 6, therefore, their actions in relation to Facebook must have been motivated to cover up

his felonious conduct. In reality, any person in the defendants’ shoes would not reasonably believe

that felony charges—which are the subject of grand jury proceedings—would be lodged against

him. In reality, the evidence as against these defendants would not give rise to the assumption that

they should anticipate being charged with a crime or, at most, being charged with anything more

than misdemeanor trespassing, which would not be the subject of a grand jury proceeding. In

short, there was insufficient evidence that these defendants foresaw a grand jury proceeding into



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their conduct or that their actions would likely affect such a proceeding.

   2. Meggs and Harrelson (Counts 8 and 9)

       As the government has acknowledged, the only evidence of Defendants Meggs and

Harrelson having “deleted” any messages from their phones is the fact that following their arrest,

there were messages missing from their phones during the period relevant to the Indictment and a

text exchange as between Defendants Meggs and Harrelson regarding cleaning out messages in

our chats. See Gov. Opp. Rule 29 at 33 (Nov. 3, 2022) (ECF No. 383). Importantly, however, the

government presented no evidence that any forensic analysis was done of Defendant Meggs and

Harrelson’s phone for the purpose of determining whether any messages were “deleted” from their

phones or whether they were removed from the phones through some other non-nefarious means.

       For example, there was testimony at trial that Signal permitted the automatic deletion of

messages – a setting that if enabled before any grand jury had been empaneled, setting aside the

issue of whether Defendants Meggs and Harrelson could have known that fact, would have led to

the “disappearance” of the messages in question. Or the messages could have been removed from

Defendants Meggs’s and Harrelson’s phones by virtue of their having exited the chats in question.

As Defense Exhibit KM-79 makes clear, it is undisputed that Defendant Meggs exited various

chats the government deemed significant prior to the date the grand jury was empaneled.

       Perhaps most importantly, when FBI Special Agent Moore was asked about whether the

purportedly missing messages were missing prior to a certain time in January – a fact of

significance based on the allegation messages relevant to conduct at issue in this case were deleted,

Special Agent Moore could not recall. Tr. at 6567:6-16.

       Finally, even were the messages exchanged as between Defendants Meggs and Harrelson

sufficient for a reasonable juror to conclude that someone had deleted messages that could have



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been used in the grand jury proceedings, the messages at most establish only that Defendant

Harrelson took any action such that there is no evidence of Defendant Meggs doing anything to

his phone at all.

    3. Caldwell (Count 10/13)

        a. The government failed to prove that Caldwell tampered with evidence as specifically
           outlined in the Indictment.
        Contrary to the government’s suggestion in opening argument, (Tr., 1125), and at other

portions of the trial, Caldwell was not charged by the Grand Jury with unsending 180 Facebook

messages. As the Court ruled in relation to jury instructions, Caldwell was charged with unsending

one message, which allegedly contained a “video,” and “deleting” an unspecified number of

“photographs” from his Facebook account that documented “his participation in the attack on the

Capitol on January 6, 2021.” (ECF 400, at 40) (jury instructions).

        b. “Unsending” is not the same as “deleting.”
        In relation to Facebook, the actions of “unsending” and “deleting” are notably different. In

Count 13, the Grand Jury clearly distinguished between the “unsent” video and the “deleted”

photographs.    The government, in fact, stressed this distinction between “unsending” and

“deleting” items from Facebook during its direct examination of Meta, Inc. records custodian Tyler

Harmon, who testified at length as to the difference between the two actions. According to

Harmon, when a Facebook user unsends a message, that message is permanently erased from the

sender’s and recipient’s Facebook accounts and all Facebook records, although a record is kept

noting the “action” of unsending. (Tr., 6181-85). By contrast, a Facebook user cannot “delete”

an isolated message; instead, according to Harmon, to “delete” a single message from Facebook

requires that the user “delete” the entire conversation thread, including all the messages contained




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therein. (Tr., 6183). A deleted thread, moreover, unlike an unsent message, is not deleted from

the recipient’s Facebook records.     The difference between “unsent” and “delete” vis-à-vis

Facebook and the use of those terms in the Indictment is substantial. Caldwell cannot be convicted

of evidence tampering based upon allegations not specified in the Indictment. See Stirone v.

United States, 361 U.S. 212, 217 (1960) (reaffirming “the rule that a court cannot permit a

defendant to be tried on charges that are not made in the indictment against him.”).

       Both the government and defense agree that Caldwell’s Facebook records show that 180

total Facebook messages were “unsent,” of which 5 messages relate directly to the alleged unsent

“video,” which were recovered from Crowl’s cell phone. 19 These 5 unsent messages were

originally contained within a 30-page Facebook conversation thread, which was “deleted,”

between Caldwell and Crowl (hereinafter “the Caldwell-Crowl thread”). Both sides also agree

that the other 175 unsent messages were from other conversation threads in Caldwell’s records.

See ECF 383, at 32, 53 (Govt.’s Opp. to MJOA).

       c. The government tacitly conceded that it can’t prove the contents of 175 messages.

Ironically, in its Opposition to Defendants’ Motions for Judgments of Acquittal, the government

tacitly admitted that it was speculating in regards to the content of the 175 unsent messages that

have not been recovered by law enforcement:

       Meanwhile, on January 14, as Watkins and Crowl were on their way to hide at his
       home, Caldwell “unsent” and deleted over 175 messages from his Facebook
       account that, based on the timing and context, likely referenced his role in the
       conspiracy.

(ECF 383, at 32) (emphasis added). The government’s entire argument in opposing Caldwell’s


19
  These 5 unsent messages were the only unsent messages that law enforcement recovered.
They were recovered from Crowl’s phone.



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Rule 29 motion as to Count 13, in fact, centered exclusively upon alleged tampering with text-type

messages--not photographs as charged in the Indictment. Id. at 32 (“Finally, the evidence . . .

established that Caldwell deleted over 175 messages on his Facebook account, including messages

he had sent to co-conspirators like Donovan Crowl in which he discussed their actions on January

6, 2021.”) (emphasis added).

       Again, Caldwell was charged by the Grand Jury with 1) deletion of; 2) photographs; 3)

that specifically depicted his “participation in the attack on the Capitol.” The government’s

educated guess (“likely”) that the 175 “unsent” messages “discussed” a conspiracy is the polar

opposite of legally sufficient proof that Caldwell definitively withheld photographs from the Grand

Jury by deleting them. Caldwell was not charged by the Grand Jury with “unsending” the 175

identified Facebook messages. Even if Caldwell was so charged, identifying the contents of the

175 unrecovered, unsent messages is abject speculation. Did they contain text-type messages?

Memes? News articles? Videos? Wedding photos? Non-germane January 6, 2021 photos? Or

photographs depicting Caldwell’s alleged “participation in the attack on the Capitol on January 6,

2021”? 20 Special Agent Palian, Meta custodian Harmon, and Special Agent John Moore testified

that the content of the unsent messages is “unknown.” (Tr., 1862, 6191, 6725). Accordingly, the

175 unsent messages cannot be the basis for convicting Caldwell regarding deleted January 6,

2021 photographs.

       d. There are only 11 photos at issue.



20
  Respectfully, Caldwell did not participate in an “attack on the Capitol”; hence, it was also
impossible for the government to prove beyond a reasonable doubt that Caldwell destroyed
photos related to something he did not do. The language in the Grand Jury indictment, which did
not change over twenty months, was likely based upon the government’s earliest claims that
Caldwell stormed the Capitol.



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          The only evidence that the government adduced regarding the deletion of photographs was

Caldwell allegedly deleting the entire 30-page Facebook Messenger thread between himself and

Crowl, i.e., the Caldwell-Crowl thread, (Govt.’s Exh. 2002.T.61), which contained 11 January 6,

2021-related photos. Id. at 69-79. This evidence, however, failed to establish a prima facie case

of violating § 1512(c)(1) because to “delete” the 11 photographs contained within the Caldwell-

Crowl thread, Caldwell had to delete the entire 30-page thread. Accordingly, the government

failed to prove that Caldwell intentionally targeted the photographs within the 30-page Caldwell-

Crowl thread for deletion. In other words, it is impossible to know whether Caldwell desired to

delete from the Caldwell-Crowl thread one written message, ten written messages, one non-

incriminating photo, the entire thread, or the January 6, 2021 photos alleged in the Indictment. To

carry forward any of these “intentions” required Caldwell to make one “swipe” on his phone,

which resulted in automatic “deletion” of every message within the 30-page Caldwell-Crowl

thread.    “Deletion” in relation to a Facebook thread is an all-or-nothing action, making it

impossible for a finder-of-fact, absent direct evidence, to determine Caldwell’s intent.

          Within the 30-page deleted Caldwell-Crowl thread--wherein the 11 January 6, 2021-related

photos were located— are multiple messages and posts that clearly have nothing to do with January

6, 2021. (Govt. Exh. 2002.T.61). For example, two detailed messages describe a January 10, 2021

emergency room visit regarding Caldwell’s wife, Sharon. Id. at 88-89. The Caldwell-Crowl

thread also includes multiple posts of news articles and the Facebook re-posts of others not

connected to the instant Indictment. Id. at 61-64. Other messages detail a particular password that

Caldwell was sending to Crowl. Id. at 91. Six pages contain messages that were originally sent

before January 6, 2021. Id. at 61-67. There are also dozens of non-photographic messages related

to January 6, 2021 activities. To claim that Caldwell’s specific intent in deleting the entire 30-



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page Caldwell-Crowl thread was to target 11 photographs is speculation on steroids. Ironically,

by “deleting” the entire Caldwell-Crowl thread instead of taking a narrowly-tailored action like

unsending the 11 photographs therein, which would have erased the photos from all Facebook

records, Caldwell actually preserved the 11 photographs in Crowl’s Facebook records. Why didn’t

Caldwell simply unsend the 11 photos within the Caldwell-Crowl thread—which would have

permanently deleted the photos from all Facebook records instead of just Caldwell’s--if his intent

was to hide them from the Grand Jury? 21

       e. The government did not prove that Caldwell is the person who “deleted.”

       Absent a confession or other direct evidence, it was impossible for the government to meet

its evidentiary burden to find that Caldwell specifically targeted 11 photos for deletion within 30

pages of Facebook records. Similarly problematic, the government’s case-in-chief adduced legally

insufficient evidence to prove that Caldwell was actually the person who “deleted” the Caldwell-

Crowl thread. The government produced no eyewitness testimony, confession, or admission

definitively showing that Caldwell deleted the Caldwell-Crowl thread. Legally sufficient proof

that Caldwell deleted the Caldwell-Crowl thread requires more than motive and opportunity. See

State v. Schmitz, 2005 Ohio App. LEXIS *5939 (Ohio Ct. App. 2005) (finding insufficient

evidence that child pornography defendant deleted photographs:          “No additional direct or

circumstantial evidence linked defendant to the deletion process besides a theoretical motive and

opportunity. Motive and opportunity, without more, do not prove an act.”).




21
   In fact, the unsent “video”—which turned out to be a link to a news site—was contained
within the Caldwell-Crowl thread. That Caldwell unsent this link, but not the January 6, 2021
photographs contained in the same thread, further proves that he did not intend to hide the photos
from the Grand Jury.



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       f. The government failed to prove Caldwell’s unlawful intent as to both tampering
          allegations.
       The government’s case-in-chief failed to adduce legally sufficient evidence that Caldwell

specifically intended to withhold evidence from the Grand Jury. First, no evidence was adduced

that the Grand Jury proceeding looking into January 6, 2021 was a matter of public knowledge.

Second, no evidence was adduced that Caldwell was put on actual notice of the Grand Jury

proceeding. Third, no evidence was adduced that Caldwell, Watkins, or Crowl were publicly

named as subjects of an FBI or grand jury investigation as of January 14, 2021. Fourth, no

evidence was adduced that law enforcement or prosecutors took steps that would have alerted

Caldwell that he was the potential subject of Grand Jury proceedings. Fifth, Watkins and Crowl

were not arrested until three days after Caldwell allegedly tampered with the video and

photographs specified in the Indictment. Sixth, the evidentiary record showed that Caldwell did

not delete, unsend, or otherwise dispose of potential evidence after he became aware that Watkins

and Crowl were charged. Seventh, Caldwell was not a participant in the Oath Keepers Signal chats

wherein message deletion was encouraged. Eighth, Caldwell did not confess or make inculpatory

statements to third parties in relation to specifically intending to engage in evidence tampering.

The government, in short, did not produce one piece of direct evidence proving that Caldwell was

on actual or constructive notice of a particular proceeding or that he intended to impair the

availability of evidence from the Grand Jury.

       Without direct evidence, the government relies entirely on circumstantial evidence as to

Caldwell’s intent.   While “[c]ircumstantial evidence and inferences drawn from it may be

sufficient to sustain a conviction[,] . . . mere suspicion or speculation cannot be the basis for

creation of logical inferences.” United States v. Lewis, 787 F.2d 1318, 1323 (9th Cir. 1986). The




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government placed great weight on Caldwell’s alleged tampering taking place while Watkins and

Crowl were driving to his farm. However, this coincidence does not establish legally sufficient

proof beyond a reasonable doubt as to Caldwell’s intent vis-à-vis Facebook. In fact, when all of

the circumstantial evidence is considered, even in the light most favorable to the prosecution, the

government did not come close to meeting its burden.

       There are multiple innocent explanations for why Caldwell would delete the Caldwell-

Crowl thread. First, Caldwell may have desired to “clean up” his phone by deleting chats. Second,

Caldwell’s intent may have been to delete certain messages in the thread (e.g., his wife’s medical

condition) but, by deleting some, he automatically deleted all of the messages, including January

6, 2021 photographs. Third, the deletion could have been accidental. Fourth, someone other than

Caldwell could have deleted the thread from his phone or computer. Fifth, Caldwell may have

decided he just didn’t need the thread any more. Sixth, Caldwell and Crowl may have decided to

text one another instead of using Facebook, so the thread was no longer necessary. Seventh,

Caldwell may have decided to cut ties with Crowl for reasons that had nothing to do with a grand

jury investigation. In short, the government’s circumstantial case does not compel a legally

sufficient basis to find Caldwell guilty beyond a reasonable doubt.

       g. A “link” is not a “video.”
       The Grand Jury specifically charged in Count 13 that Caldwell unsent a “video” and then

subsequently unsent the message containing the video. (ECF No. 1). Contrary to the government’s

assertion during closing argument, the Grand Jury accused Caldwell of tampering with a video—

not a message. For example, if Person A instructs Person B to burn the envelope containing an

incriminating VHS tape, the subject of the evidence tampering, i.e., the thing made unavailable to

the Grand Jury, is the VHS tape, not the conduit wherein the evidence resides. The undisputed



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evidence presented in the government’s case was that Caldwell unsent a “link,” not a “video.” A

link or “hyperlink” is “an electronic link providing direct access from one distinctively marked

place in a hypertext or hypermedia document to another in the same or a different document.” 22

Like sand and steel, a hyperlink and a video are not the same things. See Stirone v. United States,

361 U.S. 212, 217 (1960). The undisputed evidence showed that the government did not know the

specific content of the unsent message until 20-plus months after Caldwell was charged and at

least one month after the instant Rhodes Indictment was returned. (Tr., 6729). A pitfall of

indicting before investigating is that innocent people can get charged with crimes they did not

commit, such as tampering with a non-existent video. Caldwell should be acquitted by the Court

because the government’s evidence (a “link”) did not prove the allegation in the Indictment (a

“video”).

         h. A hyperlink is not a record, document, or object.
         To violate Section 1512(c)(1), Caldwell had to tamper with a “record, “document,” or other

“object.” A hyperlink is not a record, document, or object within the meaning of § 1512(c)(1). A

“record” is “an official written document that gives proof of something or tells about past

events.” 23 A “document” is “an official paper that gives information about something or that is

used as proof of something.” 24 An “object” is “a thing that you can see and touch and that is not

alive.” 25 A hyperlink is certainly not a “document” or “record.” And as you cannot “see and




22
 MERRIAM WEBSTER’S ONLINE DICTIONARY, https://www.merriam-
webster.com/dictionary/hyperlink.
23
     THE BRITANICA DICTIONARY ONLINE, https://www.britannica.com/dictionary/record
24
     THE BRITANICA DICTIONARY ONLINE, https://www.britannica.com/dictionary/document
25
     THE BRITANICA DICTIONARY ONLINE, https://www.britannica.com/dictionary/object



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touch” a hyperlink, it is not an “object.” Accordingly, the government failed to prove that Caldwell

tampered with any items listed in § 1512(c)(1).

       i. Unsending a hyperlink to an open source news segment is not evidence tampering.
       To violate § 1512(c)(1), a defendant must “alter, destroy, mutilate, or conceal” evidence

with “the intent to impair [its]. . . availability for use in an official proceeding.” A hyperlink to an

“open source” news segment is, as confirmed by Special Agent Moore, “available” to the entire

world, including the FBI and Grand Jury. (Tr., 6716, 6725). The hyperlinked News2Share footage

did not even feature Caldwell. Additionally, the undisputed evidence is that Caldwell texted the

same link to Crowl minutes later at the latter’s request and never deleted the text from his phone.

It is speculation that Caldwell’s intent was to make “unavailable” to the Grand Jury an open-

sourced news segment that did not feature him or his wife and which he retained a copy of on his

phone in a text chat with Crowl. 26 (Tr., 6775).

       j. Evidence introduced in Caldwell’s case buttresses his request for MJOA.
Undisputed evidence presented in Caldwell’s case-in-chief should further compel the Court to

grant judgement of acquittal as to Count 13. First, Caldwell Exhibits 64-68 included screenshots

of Caldwell’s cell phone, which the FBI has continually possessed since Caldwell’s arrest on

January 19, 2021. These screenshots confirm that Caldwell, as part of a 3-way chat, texted Watkins

and Crowl 39 photos relating to January 6, 2021, including the very photos contained in the

Caldwell-Crowl deleted thread. (Caldwell Exh. 60(a-y)). Additionally, Caldwell texted January



26
   In the middle of the 5 (recovered) unsent messages relating to the “link” is a message, which
Caldwell did not unsend, which is a clear request by Crowl asking Caldwell to “send me that last
video again in a text msg[.]” (Govt. Exh. 2002.T.61, at 84). If Caldwell’s intent was to hide the
“link” from the Grand Jury, it seems odd that Caldwell did not unsend this message, which gave
investigators a direct road map to find the “link.”



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6, 2021-related photographs to five other individuals in these exhibits. (Caldwell Exhibits 64(a-

c), 65(a-k), 66(a-j), 67(a-e), 68(a-f), and 68.1). None of Caldwell’s text messages containing the

January 6, 2021 photos were deleted from his phone. The government, moreover, rebutted none

of this physical evidence. Mr. Caldwell testified, without government pushback, that he retained

multiple copies 27 of all January 6, 2021 photographs he took on his cell phone including the 134

photos introduced into evidence, (Caldwell Exhibits 45(1-86) & 46(1-48)). These 134 photos

include the originals of the photos that were deleted in the Caldwell-Crowl thread. (Caldwell Exh.

45(61-83)).

       Caldwell’s retention of multiple copies of his January 6, 2021 photos—including the

photos deleted from the Caldwell-Crowl thread—completely debunks the notion that he was

attempting to “impair” their “availability” for the Grand Jury. “[T]here are some circumstances in

which the removal of one of several identical items may not tend to prove a specific intent to make

evidence unavailable for use in an official proceeding.” People v. Rieger, 436 P.3d 610, 615 (Colo.

App. 2019). A Florida appellate court has ruled that, under evidence tampering statute similar to

§ 1512(c)(1), a defendant’s deletion from his cell phone of a video was insufficient to convict in

light of his transmission of the video to multiple parties. Costanzo v. State, 152 So. 3d 737, 738

(Fla. Dist. Ct. App. 2014). The Costanzo Court, characterizing such circumstantial conduct as

“equivocal,” noted that the defendant did not “completely destroy[] potential evidence” and

therefore deleting the video did not demonstrate the necessary intent to make the evidence




27
  Caldwell testified that he backed up “multiple copies” of all January 6, 2021 photos on a
Western Digital hard drive and a Gorilla-brand flash drive. (Tr., 8853-54). Caldwell’s phone
has been continuously in FBI custody since January 19, 2021; all of his January 6, 2021 photos
were still on his phone when he examined it at an FBI evidence facility prior to trial. (Tr., 8855).



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unavailable. Id. at 738-39 (“The statute does not criminalize deleting evidence existing in the

memory of a particular electronic device, particularly where such evidence resides elsewhere in

the electronic ether.”). 28

        Caldwell’s intent in allegedly deleting January 6, 2021-related photographs was, likewise,

circumstantially “equivocal.” Caldwell retained the original photos on his phone, and backed up

multiple copies on external hard drives. Copies of the exact same photos were contained in an un-

deleted text chat with Watkins and Crowl. (Caldwell Exh. 60(a-y)). Caldwell retained text chats

with five other contacts that contained January 6, 2021 photos, including the exact same photos he

allegedly deleted from the Caldwell-Crowl thread. (Caldwell Exhibits 64(a-c), 65(a-k), 66(a-j),

67(a-e), 68(a-f), and 68.1). The government recovered every single January 6, 2021, photo

contained in the Caldwell-Crowl thread and provided them in discovery to the defense. The weight

of the evidence was overwhelming that Caldwell possessed multiple copies of every January 6,

2021-related photograph that he and his wife snapped, including the 11 photos that the government

claims were “unavailable” to the Grand Jury.

        Finally, the testimony of retired Special Agent John Roeper was compelling as he

confirmed that, at the time Caldwell was on the west-side Capitol grounds, he saw no violence

with police and no barriers blocking entrance to the Capitol grounds. The testimony of Roeper



28
  The allegation that Caldwell intended to withhold evidence from the Grand Jury is further
undermined by Caldwell’s Exhibits 47, 50, 51, 57, which showed that both Mr. and Mrs.
Caldwell had made clear their intention to remove themselves from Facebook prior to Caldwell
unsending or deleting anything from his Facebook account. In one text message, Caldwell, on
January 11, 2021, advised a contact that “I am in the process of pulling off all of my pix, etc.
[from Facebook].” (Caldwell Exh. 50). Caldwell had also opened an account on Facebook’s
rival “Parler” on November 10, 2020. (Caldwell Exh. 51). Mrs. Caldwell emailed her state
delegate on November 9, 2020 requesting contact information for a speaker who gave a speech
on how to get off of Facebook. (Caldwell Exh. 47).



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and the Caldwells on these points was further buttressed by the “doorknob” video and photos taken

by the Caldwells showing no violence against police on the Inaugural balcony.

                                        CONCLUSION

       For the foregoing reasons, the Court should enter a judgement of acquittal as to all counts

for which the defendants were found guilty.

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